                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                               TAMPA DIVISION

              Plaintiff,

     DEVELOPMENTAL TECHNOLOGIES, INC.

     v.                                                                  Case No: 8:14-CV-02796-MSS-EAJ

              Defendants,

     VALMONT INDUSTRIES, INC., and
     E.I. DU PONT DE NEMOURS AND
     COMPANY
     ____________________________________/

                                                       Trial Exhibit List

Exhibit     Date          Date         Witness            Objections/          Description of Exhibit
No.         Identified    Admitted                        Stipulated
                                                          Admissions1 2 3
1                                                         104a; 402; 403;      Market Plan; Organics 2010; Eco-Ag Technology
                                                          802
2                                                         104a; 402; 403;      Market Plan; Ornamentals 2010; Eco-Ag
                                                          802                  Technology
3                                                         104a; 402; 403;      Market Plan; Turf, Sod, and Shrubbery, 2010, Eco-
                                                          802                  Ag Technology
4                                                         104a; 402; 403;      Market Plan; Home Garden 2010; Eco-Ag
                                                          802                  Technology
5                                                         402; 802; 901        Non Disclosure and Non Use Agreement between
                                                                               AgriCapital and DTL
6                                                         104a; 403; 802       Root Demand Irrigation brochure © 2013
7                                                         104a; 403; 802       DuPont presentation Untitled Draft (sections
                                                                               included for I. (John) Bletsos - not part of


     1
      The parties have been working diligently to agree to stipulated admissions regarding trial exhibits. That process is
     ongoing and the parties anticipate expanding the number of stipulated exhibits shortly. As such, the parties propose
     submitting an amended exhibit list within ten (10) days, which they anticipate will include additional stipulated
     exhibits. The parties have also committed to continued dialogue as trial approaches to narrow both the number of
     objections and the number of exhibits, and will apprise the Court of any such reductions as soon as practicable. The
     parties reserve their right to include additional trial exhibits, including exhibits pertaining to those witnesses likely to
     be called at trial who were not deposed or deposed after the date of this document.
     2
       The parties are working together to reach agreement with respect to authenticity and the necessity of record
     custodians at trial. They anticipate stipulating to the authenticity of the majority of exhibits, with the possibility of
     some exhibits requiring authentication and/or the testimony of a records custodian at trial. At this time, the parties
     reserve all their rights with respect to authenticity and records custodians. The parties agree that this reservation
     applies to even those exhibits that are marked with an “A” herein.
     3
       For purposes of Defendants’ objections to Plaintiff’s trial exhibits, references to 104a, 106, 402, 403, 701, 702,
     802, 901, and 1002, refer to corresponding rule of the Federal Rules of Evidence. In addition, CP = composite, not a
     single document; D = duplicate; ILL = illegible; and NP = not produced during discovery.


                         Exhibit "A"                          1 of 57
Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                                              presentation)
8                                           104a; 402; 802    General Information - the 2006 ASABE Annual
                                                              International Meeting
9                                           403; 802; 901     Powerpoint presentation from Easy Life (DTL) for
                                                              Kirkwood Community College "A New
                                                              Breakthrough Technology That is Changing the
                                                              Face of Irrigation Systems for All Future
                                                              Generations"
10                                          104a; 402; 802;   Confidential Disclosure and Limited Use Agreement
                                            106; 901          between Easy Life Solutions, Inc. and Kirkwood
                                                              Community College
11                                          A                 Gesser US patent no. 7,198,431 B2
12                                          D                 Patent No. 7,198,431 B2 by Gesser
13                                          104a; 402; 403;   Highly Confidential.mov - Dill Weed Eco-Ag
                                            802; 901          Demonstration Movie
14                                          104a; 402; 403;   Highly Confidential.mov - Icicle Radish Eco-Ag
                                            802; 901          Demonstration Movie
15                                          104a; 402; 403;   Highly Confidential.mov - Barley Eco-Ag
                                            802; 901          Demonstration Movie
16                                          104a; 402; 403;   Highly Confidential.mov - Cherry Radish Eco-Ag
                                            802; 901          Demonstration Movie
17                                          402; 403; 802     Mutual Non-Disclosure and Non-Use Agreement
                                                              (NDA) between Ed Sinda and DTL
18                                          104a; 403; 802;   Eco-Ag water usage in comparison to standard
                                            901               practice and regular rainfall
19                                          106; 802          Email from B. Goldsby to C. Malsam; Sub: Eco-Ag;
                                                              with attachment intro letter and statement of non-
                                                              confidentiality
20                                          104a; 802         Letter from B. Goldsby to C. Malsam of Valmont
                                                              with Eco-Ag presentation
21                                          106; 802          Email from J. LaRue to B. Goldsby; Sub: Eco-Ag
22                                          402; 403; 802     Mutual Non-Disclosure and Non-Use Agreement
                                                              (NDA) Between DTL and David Conklin
23                                          A                 Mutual Non Disclosure and Non Use Agreement
                                                              between Valmont and DTL
24                                          104a; 106; 802;   Attachment to 8/26/09 email to DuPont - Testing to
                                            901               date
25                                          106; 402; 802     Email from B. Golsby to J. LaRue; Sub: NDA
                                                              receipt
26                                          106; 402; 802     Email from B. Goldsby to J. LaRue; Sub:
                                                              Confidential conference call
27                                          106; 403; 802;    Email from R. (Bob) Matheson to D. Conklin; Sub:
                                            ILL               Re: Polymer-based water technology can work with
                                                              Tyvek to increase crop yields using less water &
                                                              fertilizer, huge ROI (return on investment) potential
28                                          106; 802          Email from D. Conklin to R. (Bob) Matheson; Sub:
                                                              More non confidential Eco-Ag information is on its
                                                              way
29                                          106; 802; D       Email from D. Conklin to B. Carter; Sub: Overnight
                                                              package
30                                          106; 402; 403;    Email from R. (Bob) Matheson to D. Conklin; Sub:
                                            802; ILL          RE: Overnight package
31                                          402; 403; 802     Email from D. Conklin to E. Sinda and T. Zappa;
                                                              Update on DuPont Nonwovens (Tyvek)

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


32                                          106; 402; 403;    Non Disclosure and Non Use Agreement between
                                            802; 901          Toro Company and DTL
33                                          106; 402; 403;    Email from D. Conklin to R. (Bob) Matheson; Sub:
                                            802               DuPont Protection Technologies to visit DTL
34                                          106; 402; 403;    Email from B. Goldsby to B. Desigio; Sub: DTL &
                                            802               Eco-Ag
35                                          106; 402; 403;    Email from B. Goldsby to J. LaRue; Sub: Eco-Ag
                                            802               site visit travel options
36                                          104a; 106; 402;   Dave's Hot List
                                            403; 802; 901
37                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: RE: Eco-
                                            802               Ag site visit
38                                          A                 Non Disclosure and Non Use Agreement between
                                                              DuPont and DTL
39                                          104a; 106; 403;   DuPont Sit Visit 1 with handwritten notes without
                                            802; 901          presentation
40                                          104a; 403; 802    DuPont Protection Technologies Agenda Eco-Ag
                                                              Site Visit
41                                          104a; 106; 403;   Eco-Ag presentation for Site Visit 1 with DuPont
                                            802; D            with internal notes
42                                          104a; 106; 403;   Attachment to 8/26/09 email to DuPont -
                                            802; 901          Comparative Survey
43                                          106; 402; 403;    Email from B. Carter to D. Conklin; E. Sinda;
                                            802               Johan.dti@inbox.com; T. Zappa; Sub: Thank you
44                                          106; 402; 403;    Email from B. Carter to D. Conklin; Sub: RE
                                            802; ILL          Spreadsheet attached
45                                          106; 802          Email from J. LaRue to B. Goldsby; regarding
                                                              KISSS and IWTech.com
46                                          106; 403; 802     Email from B. Goldsby to J. LaRue; Sub: Eco-Ag
                                                              technology vs. any other irrigation system
47                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802          - DuPont
48                                          106; 802; D       Email from J. LaRue to B. Goldsby; Sub: RE: Eco-
                                                              Ag technology vs. any other irrigation system
49                                          106; 802          Email from J. LaRue to B. Goldsby; Sub: RE: Eco-
                                                              Ag technology vs. any other irrigation system
50                                          106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Update
                                            802
51                                          106; 402; 403;    Email from B. Goldsby to J. LaRue; Sub: re[2] Eco-
                                            802               Ag technology vs. any other irrigation system
52                                          104a; 106; 402;   Dave's Hot List
                                            403; 802
53                                          106; 402; 403;    Email from J. LaRue To B. Goldsby; Sub: possible
                                            802               discussion points
54                                          106; 402; 403;    Email from B. Goldsby to J. LaRue; Sub: re:
                                            802               possible discussion points
55                                          106; 402; 403;    Email from B. Golsby to J. LaRue; Sub: re: question
                                            802               #2
56                                          104a; 106; 403;   Valmont Industries Agenda for Eco-Ag site visit
                                            802
57                                          104a; 106; 403;   DTL Notes from Valmont site visit 10/15/09
                                            802; 901
58                                          104a; 106; 403;   Valmont Site Visit 1 without presentation
                                            802; 901; D

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


59                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: Question
                                            802               #2
60                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: question
                                            802               #1
61                                          104a; 403; 802    Eco-Ag presentation for Valmont first site visit
62                                          104a; 403; 802;   Eco-Ag presentation for Valmont's Site Visit
                                            901; 1002
63                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: question
                                            802; 901; 1002;   #1
                                            D
64                                          106; 402; 403;    Letter from T. Zappa to J. LaRue of Valmont
                                            802; 1002
65                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: How is
                                            802               information requested coming?
66                                          403; 802          Letter from B. Carter to Nigel Budden; Sub:
                                                              Request for Authority to Execute a short term
                                                              consulting agreement with Dr. Lichtner in order to
                                                              evaluate a potential technology purchase
67                                          106; 802          Email from T. Zappa to J. LaRue; Sub: Exudates
                                                              Articles and attachment
68                                          106; 802          Email from T. Zappa to J. LaRue; Sub: RE: Exudate
                                                              Articles with 2 more articles attached
69                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: site visit
                                            802               dates
70                                          106; 402; 403;    Email from B. Carter to D. Conklin; Sub: RE: site
                                            802; ILL          visit dates
71                                          106; 403; 802     Email from B. Golsby to J. LaRue; Sub: Eco-Ag
                                                              Q&A
72                                          106; 403; 802     Email from J. LaRue to B. Goldsby; Sub: RE: Eco-
                                                              Ag Q&A
73                                          106; 403; 802;    Email from J. LaRue to B. Goldsby; Sub: RE: Eco-
                                            901               Ag Q&A
74                                          106; 402; 403;    Email from B. Goldsby to J. LaRue; Sub: Re:
                                            802; 901          meeting with management on Eco-Ag - Tuesday,
                                                              10/Nov
75                                          106; 402; 403;    Email from J. LaRue to B. Goldsby; Sub: Meeting
                                            802               with management on Eco-Ag - Tuesday 10/Nov
76                                          106; 403; 802;    Inbound voicemail message from Valmont's B. Kiep
                                            901; 1002         to DTL B. Goldsby Transcription of recorded
                                                              voicemail message
77                                          402; 403; 802     Non Disclosure and Non Use Agreement Between
                                                              F. Lichtner and DTL
78                                          402; 403; 802;    Non-Disclosure and Non-Use Agreement (NDA)
                                            901; D            between Dr. Frank Lichtner and DTL
79                                          106; 402; 403;    Email from E. Sinda to T. Zappa; Sub: Eco-Ag LOI
                                            802               (letter of intent)
80                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
81                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
82                                          104a; 106; 403;   DTL Notes RE: DuPont 2nd Site Visit
                                            802; 901
83                                          104a; 106; 403;   DuPont Site Visit 2 without presentation
                                            802; 901; D

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


84                                          104a; 106; 403;   Eco-Ag presentation for DuPont 2nd site visit
                                            802
85                                          104a; 402; 403;   DTL Legal Contacts of Prospective New Purchasers
                                            802; 901          - DuPont
86                                          104a; 402; 403;   Murcott Tangerine Tree 2010 Final Report
                                            802; 901
87                                          104a; 403; 802;   DuPont Site Visit 2
                                            901
88                                          403; 802          Letter from Frank Lichtner to B. Carter and R.
                                                              (Bob) Matheson; Sub: Assessment of DTL
                                                              technology utilizing DuPont Tyvek as an irrigation
                                                              tool
89                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: re[2]:
                                            802; ILL          Photos, template
90                                          106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Template
                                            802
91                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: Re:
                                            802               Template
92                                          106; 402; 403;    Email form D. Conklin to B. Carter; Sub: DuPont
                                            802               marketing template
93                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
94                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
95                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: re[4]:
                                            802               DuPont marketing template
96                                          104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - DuPont
97                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: Here's the
                                            802               latest version of the DuPont Marketing template
98                                          106; 402; 403;    Email from D. Conklin to B. Carter; Sub: re: one
                                            802               last request
99                                          106; 403; 802;    Email from D. Conklin to B. Carter; Sub: DuPont
                                            901               marketing template for Eco-Ag water technology
                                                              with attachment
100                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - DuPont
101                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - DuPont
102                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
103                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - DuPont
104                                         106; 402; 403;    Email from B. Kiep to E. Sinda; B. Goldsby; Sub:
                                            802               Eco-Ag Information
105                                         104a; 106; 802;   1pm Phone call with B. Carter transcript
                                            901
106                                         104a; 106; 402;   Dave's Hot List
                                            403; 802; 901
107                                         106; 402; 403;    Email form B. Goldsby to B. Kiep; Sub: Eco-Ag
                                            802               teleconference
108                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Eco-
                                            802               Ag/DuPont meeting dates
109                                         106; 402; 403;    Email from B. Kiep to B. Goldsby; Sub: RE: Eco-

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                            802               Ag Information
110                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: re: Eco-
                                            802; ILL          Ag/DuPont meeting dates
111                                         106; 402; 403;    Letter from C. Malsam to E. Sinda
                                            802
112                                         403; 802          Email from Ed Sinda to K. Bernhard; Sub: Answers
                                                              Att: Valmont short answers to questions
                                                              021210d.doc w
113                                         104a; 106; 402;   DTL Executive Summary: Eco-Ag Irrigation
                                            403; 802          Technology - Greenhouse
114                                         402; 403; 802;    DuPont presentation Project Arroyo Eco-Ag
                                            901               Investigation
115                                         402; 403; 802     Email from R. Bryant to E. Sinda Sub: High Value
                                                              Field Crops-Marketing Plan so far…….; With
                                                              attachment
116                                         106; 402; 403;    Email from D. Conklin to B. Carter; Sub: Potential
                                            802               Partners with company list attachment
117                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Re:
                                            802               Potential Partners
118                                         106; 402; 403;    Email from D. Conklin to B. Carter; Sub: re[2]
                                            802               Potential Partners with attachment
119                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Re:
                                            802; 901; 1002;   Potential Partners
                                            D
120                                         106; 402; 403;    Email from B. Carter to T. Zappa; Sub: RE:
                                            802               DTL.ecoag NDA for site visit 3/29/10
121                                         104a; 106; 403;   DuPont 3rd Site Visit Eco-Ag presentation
                                            802; 901; 1002
122                                         104a; 106; 403;   DuPont Site Visit 3 Notes without presentation
                                            802; 901
123                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: FW:
                                            802               DuPont visitation
124                                         106; 402; 403;    Email from B. Carter to D. Conklin; Sub: Re: Fw:
                                            802               DuPont Visitation
125                                         106; 403; 802     Email form B. Carter to L. Johnson; J. Pawloski; R.
                                                              (Bob) Matheson; F. lichtner; E. Sinda; T. Zappa; D.
                                                              Conklin; Sub: Meeting Agenda draft for April 20-22
126                                         106; 402; 403;    Email from E. Sinda to B. Carter; Sub: Attendees
                                            802               from DTL
127                                         104a; 106; 402;   DuPont site visit 4 notes without presentation
                                            403; 802; 901
128                                         106; 402; 403;    Inbound Phone Call with B. Carter and E. Sinda
                                            802; 901          transcript
129                                         104a; 106; 402;   DTL PNP Legal Contacts of Prospective New
                                            403; 802; 901     Purchasers - DuPont
130                                                           Gesser Et al. Patent No. 7,712,253 B2
131                                         106; 403; 802     Email from E. Sinda to B. Carter; Sub: Tomatoes on
                                                              Eco-Ag with attachments
132                                         104a; 402; 402;   Market Assumptions used in financial projections
                                            802               produced by DTL
133                                         104a; 402; 403;   Draft letter from DuPont Protection Technologies to
                                            802               Office of the Chief Executive RE: Developmental
                                                              Technologies LLC (DTL) Eco-Ag Technology
134                                         403; 701; 802     Email from V. DiTommasso to E. Sinda; D.

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Exhibit   Date         Date       Witness   Objections/        Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                                               Conklin; R. Bryant; Sub: New Global Model with
                                                               attachment from native file
135                                         403; 701; 802      Email from V. DiTommasso to E. Sinda; R. Bryant;
                                                               D. Conklin; Sub: Updated Global Model with
                                                               attachment from native file
136                                         403; 701; 802      Letter from V. DiTommasso to M. Gould Sub:
                                                               Global Valuation Model
137                                         106; 403; 701;     Email from E. Sinda to M. Gould; Sub: FW: Global
                                            802                Model with attachment
138                                         104a; 402; 403;    Watermarked DRAFT - letter from DuPont
                                            802                Protection Technologies to Office of the Chief
                                                               Executive RE: Developmental Technologies LLC
                                                               (DTL) Eco-Ag Technology
139                                         1002               Patent No. 7,748,930 B2 by Gesser et al.
140                                         A                  Sinda Patent Application Publication No. US
                                                               2010/0170961 A1
141                                         104a; 106; 403;    Phone Call - B. Carter's Call in Transcript/Notes
                                            802; 901
142                                         104a; 106; 403;    Email from B. Goldsby to E. Sinda and D. Conklin;
                                            802; 901           Sub: DuPont Carter's Call with attachment
143                                         104a; 106; 403;    Email from D. Conklin to E. Sinda; Sub: Final
                                            802; 901           Notes from 7/12/10 call with B Carter to E. Sinda
144                                         104a; 106; 403;    Email from B. Goldsby to E. Sinda; D. Conklin;
                                            802; 901; D        Sub: Dupont_Carters_Call_072110 with transcript
                                                               attachment
145                                         A                  Gesser et al Patent Application Publication No. US
                                                               2010/0180497 A1
146                                         104a; 402; 403;    Draft letter from T. Powell to Mark Vergnano; Sub:
                                            802                Request for Authorization - Eco-Ag Technology
                                                               Acquisition
147                                         104a; 106; 403;    Inbound phone call from B. Carter to E. Sinda and
                                            802; 901           D. Conklin
148                                         402; 403; 802      Email from V. DiTommasso to E. Sinda; Business
                                                               Plan fro High Value Field Crops with attachment
149                                         106; 402; 403;     Email from E. Sinda to B. Carter; Sub: RE: your
                                            802                upcoming visit
150                                         104a; 403; 802     DuPont presentation Eco-Ag Investigation by Dale
                                                               Outhous and B. Carter
151                                         106; 402; 403;     Letter from DuPont B. Carter to M. Gould of DTL
                                            802                regarding collaborative engagement and non-
                                                               binding discussion points for consideration
152                                         104a; 402; 403;    DuPont presentation Eco-Ag Discussion Points
                                            802
153                                         104a; 106; 402;    DuPont Site Visit Notes with Handwritten notes,
                                            403; 802           without presentation
154                                         104a; 106; 402;    DuPont Protection Technologies Project Arroyo
                                            403; 802           Discussion Points presentation
155                                         104a; 106; 402;    DuPont Site Visit 5 Notes with handwritten notes
                                            403; 802; 901; D   without presentation
156                                         104a; 402; 403;    DuPont presentation Project Arroyo Discussion
                                            802; 1002; D       Points
157                                         104a; 402; 403;    Project Arroyo Discussion Debrief - DuPont
                                            802
158                                         106; 402; 403;     Letter from P. Reinert to B. Carter Re: DuPont and

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                            802               DTL Non-Disclosure and Non-Use Agreement
                                                              (NDA)
159                                         106; 402; 403;    Email from E. Sinda to M. Gould; Sub: FW:
                                            802               Meeting Follow-up
160                                         106; 402; 403;    Letter from P. Reinert to B. Carter Re: DuPont and
                                            802               DTL Non-Disclosure and Non-Use Agreement
                                                              (NDA)
161                                         106; 402; 403;    Email from E. Sinda to M. Gould; Sub: FW: Eco-Ag
                                            802
162                                         106; 402; 403;    Email from E. Sinda to B. Carter; J. Pawloski;
                                            802               Continued Discussions with Valmont
163                                         402; 403; 802;    Email from B. Carter to T. Powell Sub: Project
                                            1002; ILL         Arroyo (Eco-Ag) Update
164                                         402; 403; 802     Email from B. Carter to C. Malsam; Sub: RE:
                                                              Tyvek(r) - water on demand
165                                         106; 402; 403;    Email from R. (Bob) Matheson to J. LaRue; Sub:
                                            802; 1002         RE: information on water quality for Eco-Ag
                                                              product
166                                         106; 402; 403;    Email from E. Sinda to B. Carter; Sub: RE: bi-
                                            802               weekly status update
167                                         402; 403; 802     Email from C. Malsam to B. Carter; Sub: RE:
                                                              Valmont DuPont meeting 11/29
168                                         402; 403; 802     Email from R. (Bob) Matheson to J. LaRue; Sub:
                                                              RE: information on water quality for Eco-Ag
                                                              product
169                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: RE: DuPont
                                                              / Valmont meeting
170                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: RE: DuPont
                                                              / Valmont meeting
171                                         104a; 402; 403;   An Introduction to Tyvek in Potential Irrigation Use
                                            802               presentation by R. (Bob) Matheson
172                                         106; 402; 403;    Email from E. Sinda to B. Carter; Sub: RE: Call to
                                            802               discuss Valmont
173                                         106; 403; 802;    Email from E. Sinda to B. Carter; Sub: RE: DuPont
                                            1002; D           status update
174                                         403; 802          Email from E. Sinda to B. Carter; DuPont Status
                                                              Update
175                                         106; 403; 802     Email from E. Sinda to M. Gould; Sub: FW: DuPont
                                                              status update
176                                         106; 402; 403;    Email from E. Sinda to M. Gould; Sub: FYI - FW:
                                            802               Project Arroyo Update
177                                         106; 403; 802     Email from E. Sinda to J. LaRue; B. Kiep; various
                                                              DuPont employees; Sub: Information about Eco-Ag
                                                              technology
178                                         104a; 106; 402;   DTL Executive Summary: Eco-Ag Irrigation
                                            403; 802          Technology - Citrus (Trial 50) - 2010
179                                         104a; 402; 403;   Project Arroyo - Tyvek Based Irrigation
                                            802               presentation by B. Carter and DuPont
180                                         403; 802          Email from E. Sinda to C. Malsam; J. LaRue; B.
                                                              Kiep; Additional information (1 of 3)
181                                         403; 802          Email from E. Sinda to J. LaRue; B. Kiep; C.
                                                              Malsam; Information about Eco-Ag Technology.
                                                              Attachments included 1. VALM029317 2.
                                                              VALM026349-026351 3. VALM032027-032035

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Exhibit   Date         Date       Witness   Objections/        Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                                               and 4. VALM023187-032042
182                                         106; 403; 802      Email from J. LaRue to E. Sinda; Sub: RE:
                                                               Information about Eco-Ag technology
183                                         106; 402; 403;     Email from E. Sinda to B. Carter; Sub: Re: Status
                                            802                Update
184                                         106; 402; 403;     Email from E. Sinda to M. Gould; Sub: Card from
                                            802                DuPont
185                                         104a; 402; 403;    Market Analysis Row Crops 2011 - Eco-Ag
                                            802                Technology
186                                         106; 403; 802      Email from E. Sinda to M. Gould; FW: Bi-monthly
                                                               status update
187                                         403; 802; 1002;    Email from B. Carter to T. Powell; D. Wood; R. K.
                                            ILL                Siemionko; D. Outhous; Sub: Project Arroyo Status
                                                               Update
188                                         104a; 402; 403;    DuPont/B. Carter presentation for Project Arroyo
                                            802; 901           Eco-Ag Investigation
189                                         402; 403; 802      Email from D. Wood to D. Boeri; Sub: Re: Project
                                                               Arroyo - interim review - funding request
190                                         403; 802           Email from E. Sinda to B. Carter; Re: Status Update
191                                         104a; 402; 403;    DuPont presentation Project Arroyo - Tyvek
                                            802; 901           Irrigation on Demand
192                                         104a; 402; 403;    DuPont presentation Project Arroyo Tyvek Based
                                            802; 901           Irrigation Technology
193                                         402; 403; 802      Email from R. (Bob) Matheson to I. (John) Bletsos;
                                                               Sub: RE: Ideas on Water and Other Compound
                                                               Delivery by Tyvek
194                                         104a; 402; 403;    According to Metadata: 5/5/11, According to
                                            802; 1002; ILL     document 7/21/08; DuPont Notice of Invention
                                                               (NOI) - Patent proposal for Efficient Delivery of
                                                               Liquid Water Under Low Pressure (Project Arroyo)
195                                         402; 403; 802; D   Non-Disclosure and Non-Use Agreement (NDA)
                                                               between DTL and AgriCapital Corporation
196                                         104a; 402; 403;    Project Arroyo - NBD (new business development)
                                            802; ILL           Steering Team Presentation - DuPont presentation
                                                               by B. Carter
197                                         402; 403; 802      Email from J. Williams to M. and J. Gould; Sub:
                                                               FW: CIM Executive Summary - progress with
                                                               attachment
198                                         402; 403; 802      Letter of Agreement between AgriCapital and DTL
199                                         104a; 402; 403;    Virginia Tech Mechanical Engineering 3rd Term
                                            802; 1002; ILL     Co-op Summer 2011 - Tyvek Research and
                                                               Development Slide
200                                         402; 403; 802      Joint Development Agreement between Valmont
                                                               and DuPont
201                                         104a; 106; 402;    Teleconference JW DC and B. Carter from DuPont
                                            403; 802; 901;     notes
                                            ILL
202                                         104a; 402; 403;    AgriCapital brochure of Eco-Ag "The World's First
                                            802                Plant-Responsive Water and Nutrient Delivery
                                                               System"
203                                         104a; 402; 403;    AgriCapital presentation of Eco-Ag The world's
                                            802                First Plant-Responsive Water and Nutrient Delivery
                                                               System
204                                         104a; 402; 403;    Detailed Description of Bed C1, Blackeye Peas -

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                                            802; 1002         Substrate Test with photographs
205                                         104a; 402; 403;   PNP List for AgriCapital with DTL Instructions
                                            802
206                                         A                 Non Disclosure and Non Use Agreement between
                                                              Valmont and DTL
207                                         402; 403; 802     Email from D. Conklin to J. Williams; Sub: New
                                                              questions from Dow Agro teleconference 10/4/11
208                                         104a; 106; 402;   Lab Observation Report as of 10/9/11
                                            403; 802; 901
209                                         104a; 106; 402;   DTL Executive Summary: Eco-Ag Irrigation
                                            403; 802          Technology - Queen Anne Blackeye Peas
210                                         104a; 106; 402;   Blackeye Pea Commercial Substrate test at Hadlock
                                            403; 802; 901;    (Final Report)
                                            CP
211                                         104a; 106; 402;   Eco-Ag Sale of Technology Log of Signed NDA -
                                            403; 802          Offering Memo Under Review
212                                         104a; 402; 403;   DTL Catalog - Commercial Soybean Trial (Final
                                            802; 901; CP      Report)
213                                         104a; 402; 403;   DuPont presentation by B. Carter - Project Arroyo -
                                            802               NBD Steering Team Presentation
214                                         403; 802; 901;    Email from D. Conklin to B. Carter; Sub: Eco-Ag
                                            1002              Update
215                                         104a; 402; 403;   Executive Summary: Eco-Ag Irrigation Technology
                                            802; 901; CP      - Substrate Test Book Created by DTL and
                                                              Disclosed in the CIM Data Room
216                                         104a; 402; 403;   Preliminary Summary: Eco-Ag Irrigation
                                            802; 901; CP      Technology Tomato Test Book Created by DTL and
                                                              Disclosed in the CIM Data Room
217                                         104a; 106; 402;   DuPont presentation NBD Project Arroyo -
                                            403; 802          Authorization Request to Submit a Non-Binding
                                                              Expression of Interest for Eco-Ag Technology
218                                         104a; 403; 802    DuPont Confidential letter from T. Powell to Mark
                                                              P. Vergnano (Executive Vice President) "Request
                                                              for Authority to Submit non-binding Expression of
                                                              Interest to Enter into a License Agreement with
                                                              DTL"
219                                         802               DuPont Letter from T. Powell to D. Sterkel of
                                                              AgriCapital
220                                         403; 802          Email from B. Kiep to C. Malsam; B. Desigio; Leo.
                                                              Adams; Sub: Re: Eco-Ag /DuPont
221                                         104a; 402; 403;   DTL General Ledger as of 12/31/11
                                            802
222                                         104a; 402; 403;   Project Arroyo Update presentation by I. (John)
                                            802               Bletsos, B. Carter. R. (Bob) Matheson
223                                         402; 403; 802     Email from A. Whitaker to D. Conklin; Sub: RE:
                                                              Follow up
224                                         104a; 106; 403;   Project Eco-Ag log of documents accessed by
                                            802; 901          DuPont B. Carter
225                                         104a; 402; 403;   DuPont presentation by Deb Massouda Project
                                            802               Arroyo: Tyvek Sub: Surface Irrigation Tubing
                                                              APEX Program Review
226                                         106; 802          Email from J. Bletsos to K. Corby; Sub: RE: FW:
                                                              Arroyo Project
227                                         104a; 402; 403;   DuPont Notice of Invention (NOI) - Patent Proposal

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                                            802               for Porous Uncoated Tubing Having an Initial
                                                              Resistance to Flow and Capable of Aqueous Flow to
                                                              Long Lengths
228                                         104a; 402; 403;   According to Metadata: 12/10/12, According to
                                            802               document 7/21/08; DuPont Notice of Invention
                                                              (NOI) - Patent proposal for Porous Uncoated Tubing
                                                              Exhibiting Root Water On-Demand (Project
                                                              Arroyo)
229                                         403; 802; 901     Email from B. Massouda to M. Thompson; Sub:
                                                              Arroyo Apex Proposal Documents with attachment
230                                         402; 403; 802     Email from C. Malsam to B. Desigio; Sub: RDI
                                                              patents
231                                         104a; 402; 403;   DuPont presentation by D. Hydutsky; I. (John)
                                            802               Bletsos; and M. McQuade; Sub: Tyvek Irrigation
                                                              Tube: Defect Detection
232                                         104a; 402; 403;   Draft Method for Irrigation
                                            802
233                                         104a; 402; 403;   DuPont presentation Arroyo: Root Demand
                                            802               Irrigation Initial Input: Business Model
                                                              Development BDP Number: 2012-0048
234                                         104a; 402; 403;   DuPont and Valmont presentation Deep Dive
                                            802; 1002; ILL    Workshop Summary Root Demand Irrigation
235                                         104a; 402; 403;   Evaluation of RDI Precision Irrigation by J. LaRue
                                            802
236                                         104a; 402; 403;   DuPont and Valmont presentation Project Arroyo:
                                            802               Tyvek for Irrigation Collaboration Program
                                                              Milestone Review
237                                         402; 403; 802     Email from J. LaRue to F. Lichtner; Sub: Re:
                                                              cooperation Valmont industries on the Arroyo / RDI
                                                              Project
238                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: FW:
                                                              additional employment details
239                                         402; 403; 802     Email from J. LaRue to B. Carter; Sub: RE:
                                                              marketing materials
240                                         402; 403; 802     Email from C. Malsam to J. LaRue; Leo. Adams;
                                                              Sub: RE: Eco-Ag's Website
241                                         104a; 402; 403;   DuPont presentation Project Arroyo: Tyvek Based
                                            802               Irrigation by B. Carter and I. (John) Bletsos; Market
                                                              Segment: Ventures - Agriculture
242                                         104a; 402; 403;   DuPont presentation Project Arroyo: Tyvek Based
                                            802               Irrigation By B. Carter; Market Segment: Ventures -
                                                              Agriculture
243                                         402; 403; 802     Email from B. Carter to K. Corby; I. (John) Bletsos;
                                                              J. LaRue; D. Massouda; B. Yost; Sub: RDI Arroyo
                                                              Technical Review
244                                         402; 403; 802     Email from N. Carter to J. LaRue; Sub: Pump
                                                              Curves and Flow Data
245                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: Re: RDI
                                                              Arroyo Technical Review with Kevin (Corby)
246                                         104a; 402; 403;   DTL Developmental Technologies General Ledger
                                            802; 901
247                                         104a; 402; 403;   Application of porous tube RDI for precision
                                            802               irrigation - J. LaRue RDI Valmont Irrigation
                                                              Association 2014 Education Conference

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
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                                                              presentation
248                                         402; 403; 802     Email from B. Carter to B. Desigio; Sub: RE: Plans
                                                              for 2014
249                                         402; 403; 802;    Commercialization Agreement between Valmont
                                            1002; ILL         and DuPont
250                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: RE:
                                                              Schedule Draft
251                                         104a; 402; 403;   Copy Deck Rev. 02 by Koncordia Group; Project
                                            802               Arroyo RDI Manual; Client: D. McNeil; B. Carter;
                                                              DuPont
252                                         104a; 402; 403;   Root Demand Irrigation RDI and Arroyo Projects
                                            802; 1002; ILL
253                                         104a; 402; 403;   DuPont presentation Arroyo : DuPont R&D Projects
                                            802               for 2014 - I. (John) Bletsos for the DuPont Team
254                                         104a; 402; 403;   DuPont presentation Root Demand Irrigation -
                                            802               Arroyo: Root Demand Irrigation by I. (John) Bletsos
                                                              and B. Carter
255                                         104a; 402; 403;   DuPont presentation Arroyo: RDI by I. (John)
                                            802               Bletsos and B. Carter
256                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: Names and
                                                              trip details
257                                         402; 403; 802     DuPont presentation: RDI and Arroyo Projects
258                                         402; 403; 802     Email from J. LaRue to B. Carter; Sub: RE: Names
                                                              and trip details
259                                         1002; ILL         LaRue, et al. Patent Application Publication No. US
                                                              2014/0047766 A1
260                                         104a; 402; 403;   DuPont CR&D Patent Proposal Status: NOI Started
                                            802               for Surface Treatment of Tyvek for us in subsurface
                                                              drip irrigation
261                                         104a; 402; 403;   RDI and Arroyo Projects Update presentation
                                            802
262                                         402; 403; 802     Email from I. (John) Bletsos to J. LaRue; B. Carter;
                                                              Sub: RE: Sharing on projects
263                                         104a; 402; 403;   DuPont presentation Tyvek Global Growth Board
                                            802
264                                         402; 403; 802;    Email from B. Carter to I. (John) Bletsos; Sub: RE:
                                            ILL               A Question/request
265                                         402; 403; 802     Email from R. (Bob) Matheson to B. Carter to.
                                                              (John) Bletsos; Sub: Re: Progression Front Question
266                                         104a; 402; 403;   Root Demand Irrigation - Project Arroyo Steering
                                            802               Team brochure by DuPont
267                                         104a; 402; 403;   DuPont RDI presentation Arroyo: Root Demand
                                            802               Irrigation
268                                         402; 403; 802     Email from R. (Bob) Matheson to F. Lichtner; Sub:
                                                              Re: Proposal of further study on Tyvek tubing
                                                              irrigation using HYDRUS-1D
269                                         402; 403; 802     Email from D. Siekman to Leo. Adams; B. Desigio;
                                                              Lee Addams; Sub: DuPont overview with
                                                              attachment
270                                         104a; 402; 403;   Valmont RDI Development presentation
                                            802
271                                         104a; 402; 403;   DuPont RDI presentation Project Arroyo: Tyvek
                                            802               Tubing for Root Demand Irrigation - An Example of
                                                              Internal DuPont collaboration and open innovation

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                                                              with the customer
272                                         402; 403; 802     Email from J. LaRue to B. Carter; B. Yost; K.
                                                              Tadler; F. Lichtner; Sub: Continuation of Good
                                                              News / Bad News
273                                         402; 403; 802     Email from J. LaRue to B. Carter; I. (John) Bletsos;
                                                              J. Kenneth; Ji Yeon Huh; F. Lichtner; Sub: Aerial
                                                              Imagery
274                                         106; 402; 403;    Email from F. Lichtner to I. (John) Bletsos; B.
                                            802               Carter; R. (Bob) Matheson; Sub: FW: follow-up
                                                              from Fundamentals conference call
275                                         402; 403; 802     Email from D. Siekman to J. LaRue; Sub: Re: RDI
                                                              brochure draft comments
276                                         402; 403; 802     Email from I. (John) Bletsos to A. Tarpine; Ji Yeon
                                                              Huh; Sub: RE: Visitors Passes for DuPont and
                                                              Valmont Visitors at ESL and CRP for Thursday July
                                                              17
277                                         106; 402; 403;    Email from Wei Li to I. (John) Bletsos; J. Tilton; Ji
                                            802               Yeon Hih; R. (Bob) Matheson; F. Lichtner; K.
                                                              Talder; M. Quintangelo; A. Allegier; D. Rosenfeld;
                                                              S. Brown; S. Shelburne; B. Carter; B. Yost; Sub:
                                                              Presentation Slides
278                                         402; 403; 802     Email from I. (John) Bletsos to Bruce Yost; Sub:
                                                              FW: Tentative schedule for steering team session
279                                         106; 402; 403;    Valmont presentation RDI Development Follow Up
                                            802
280                                         402; 403; 802     Email from Ji Yeon Huh to I. (John) Bletsos; R.
                                                              (Bob) Matheson; B. Carter; F. Lichtner; J. LaRue;
                                                              A. Maurin; Sub: DuPont Valmont Team Meeting at
                                                              the Experimental Station
281                                         402; 403; 802     Email from I. (John) Bletsos to J. LaRue; D.
                                                              Siekmann; A. Maurin; Sub: Updated Agenda for the
                                                              Valmont Visit July 16 and 17
282                                         402; 403; 802     Email from C. Malsam to J. LaRue; Sub: Update
                                                              from July 14th through 30th
283                                         402; 403; 802     Email from J. LaRue to C. Malsam; Sub: RE: R&D
                                                              RDI Monthly Update for July
284                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: Re: correct
                                                              wording for process of water release from RDI tube
285                                         402; 403; 802     Email from J. LaRue to R. (Bob) Matheson; B.
                                                              Carter; Sub: RE: correct wording for process of
                                                              water release from RDI tube
286                                         402; 403; 802     Email from R. (Bob) Matheson to B. Carter; I.
                                                              (John) Bletsos; Sub: RE: Correct wording for
                                                              process of water release from RDI Tube
287                                         402; 403; 802     Email from B. Carter to R. (Bob) Matheson; Sub:
                                                              RE: correct wording for process of water release
                                                              from RDI tube
288                                         104a; 402; 403;   RDI 2015 Goals and Workstreams Results from
                                            802               Executive Steering Committee Meeting brochure
289                                         104a; 402; 403;   RDI Draft Agenda Items - Executive Steering
                                            802               Committee Meeting brochure
290                                         402; 403; 802     Email from J. LaRue to J. Walker (NRCS); Sub:
                                                              RE: approval of the Valmont RDI 73B40 product as
                                                              an irrigation practice

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291                                         402; 403; 802     Email from J. Larue to C. Malsam; Sub: RE: update
                                                              - August 18th through the 26th
292                                         104a; 402; 403;   For Immediate Release letter from D. Siekman -
                                            802               Introducing Root Demand Irrigation ™: A
                                                              Revolutionary Irrigation Approach
293                                         402; 403; 802     Email from I. (John) Bletsos to D. Siekman, Sub:
                                                              RE: Introducing Rood Demand Irrigation: A
                                                              Revolutionary Irrigation Approach
294                                         104a; 402; 403;   DuPont presentation Project Arroyo Root Demand
                                            802               Irrigation CR&D Introduction by B. Carter
295                                         402; 403; 802     Email from J. LaRue to B. Widner (USDA); Sub:
                                                              Root Demand Irrigation Inquiry
296                                         402; 403; 802     Email from Quinn Elstone to J. LaRue; Sub: RE:
                                                              circles for rice blog
297                                         104a; 402; 403;   Arroyo Collaboration Program Tyvek Tubing for
                                            802               Irrigation Applications - CR&D Milestone Review
                                                              presentation by B. Carter and Ji Yeon Huh
298                                         104a; 402; 403;   DuPont presentation from Arroyo Technical Update
                                            802               - I. (John) Bletsos for the Arroyo Team - Spruance
299                                         104a; 402; 403;   Valmont and DuPont Arroyo Program Briefing
                                            802; 1002; ILL    presentation "Root Demand Irrigation"
300                                         403; 802          Email from I. (John) Bletsos to K. Corby; Sub:
                                                              Gesser (DTL) Patents and DuPont Old Patents and
                                                              TK5330 Application with attachments
301                                         104a; 402; 403;   Arroyo Program Briefing - Root Demand Irrigation
                                            802               DuPont and Valmont presentation
302                                         402; 403; 802     Email from I. (John) Bletsos to B. Yost; Sub: RE:
                                                              request approval to slit 1070DS Rolls to .5"
                                                              interleafs in 1055B and 1162B tubing - Also…
303                                         106; 402; 403;    Email from E. Sinda to D. Conklin; Sub: FW: Bi-
                                            802               weekly progress update
304                                         402; 403; 802     Email from M. Bay to Leo. Adams; Sub: RE: AE50
                                                              Winners Announced
305                                         402; 403; 802     Letter from Woodrow H. Pollack to Thomas Powell
                                                              of DuPont; RE: DTL v. DuPont Client Matter No.
                                                              232000.5
306                                         402; 403; 802;    Email probably from I. (John) Bletsos to B. Carter
                                            901               and K. Lawrence; Sub: RE: Resource Planning
                                                              Considerations
307                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: Re: RDI
                                                              Manuals
308                                         402; 403; 802     Email from B. Carter to J. LaRue; Sub: RE: Modes
                                                              of water movement
309                                         104a; 402; 403;   DuPont RDI presentation Project Arroyo : Tyvek
                                            802               Tubing for RDI An Example of Internal DuPont
                                                              Collaboration and Open Innovation with the
                                                              Customer by I. (John) Bletsos and Bruce Carter GPP
                                                              Global Segment Call
310                                         402; 403; 802     Email from S. Rutter to J. LaRue; Sub: RE: AE50
                                                              Entry 14-005 Root Demand
311                                         402; 403; 802     Email from J. LaRue to D. Siekman; C. Malsam;
                                                              Sub: FW: AE50 Entry 14-005 Root Demand
312                                         402; 403; 802     Email from J. LaRue to B. Carter; K. Lawrence; I.
                                                              (John) Bletsos; R. (Bob) Matheson; Sub:

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                                                              teleconference call with NRCS regional and state
                                                              irrigation specialists
313                                         104a; 402; 403;   DuPont Notice of Invention (NOI) - Patent Proposal
                                            802               for Irrigation Tube
314                                         104a; 402; 403;   RDI Income Statement
                                            802
315                                         104a; 402; 403;   Root Demand Irrigation RDI brochure - 5-year
                                            802               overview (version as of 1/8/15 LMA Review Copy)
316                                         402; 403; 802     Bletsos Patent Application Publication No. US
                                                              2015/0016888 A1 - System and Method for
                                                              Irrigation
317                                         104a; 402; 403;   Valmont presentation 5-Year Overview Pre-Read
                                            802               Document
318                                         402; 403; 802     Email from J. Willis to B. Carter; D. Siekman; J.
                                                              LaRue; B. Yost; B. Thomas; J. Bletsos; M. Britt
                                                              (pioneer.com); Sub: RE: Agenda for Next Week
319                                         104a; 106; 402;   Resource - Engineering and technology for a
                                            403; 802; 901     sustainable world - Award to RDI
320                                         106; 402; 403;    Email from B. Carter to T. Barrett; D. Boeri; M.
                                            802               Britt; K. Corby; B. Yost; Sub: FW: RDI AE50 Press
                                                              Release
321                                         104a; 106; 402;   History & Pending Report for Bernhard L. Kiep of
                                            403; 802; 901;    Valmont Industries, inc. Printed by D. Conklin
                                            1002
322                                         104a; 402; 403;   RDI FOR IMMEDIATE RELEASE - publication
                                            802               from D. Siekman - Root Demand Irrigation Accepts
                                                              AE50 Award Named an Industry Game Changer
323                                         104a; 106; 402;   Goldmine History and Pending Report for B. Kiep
                                            403; 802; 901;    of Valmont
                                            1002
324                                         104a; 402; 403;   RDI Root Demand Irrigation Technical Steering
                                            802               Team - Florida Meeting presentation
325                                         402; 403; 802     Email from D. Siekman to Leo. Adams; Sub: Test
                                                              site and other RDI thoughts
326                                         402; 403; 802     First Amended Complaint and Demand for
                                                              Injunctive Relief and Jury Trial
327                                         402; 403; 802     Email from E. Vories to J. LaRue; Sub: Re:
                                                              something new and different for you to consider
328                                         402; 403; 802     Email form C. Malsam to J. LaRue; Sub: weekly
                                                              update
329                                         402; 403; 802     Email from D. Siekmann to J. LaRue; Sub: RE:
                                                              Confidential meeting notes from yesterday
330                                         402; 403; 802     Email from J. LaRue to E. Vories; Sub: RE:
                                                              Something new and different for you to consider
331                                         104a; 402; 403;   Root Demand Irrigation Overview brochure Draft -
                                            802               Valmont and DuPont
332                                         402; 403; 802     Email from R. Sampson to J. LaRue; Sub: RE:
                                                              Porous tube as an approved practice for Sub: surface
                                                              irrigation
333                                         402; 403; 802     Email from J. LaRue to R. Sampson (NRCS -
                                                              USDA); Sub: RE: Porous tube as an approved
                                                              practice for sub-surface irrigation
334                                         104a; 402; 403;   Root Demand Irrigation Website
                                            802; 901

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335                                         104a; 402; 403;   Data Room Listing of Access by B. Carter to
                                            802; 901          DuPont
336                                         104a; 402; 403;   Screenshot of Computer - Test Book Sub-Directory
                                            802; 901; 1002;   of Tests by DTL disclosed in data room
                                            ILL
337                                         104a; 402; 403;   RDI Income Statement
                                            802
338                                         104a; 402; 403;   RDI Domain Balance Sheet as of 8/30/15
                                            802
339                                         802               DuPont's Objections and Verified Responses to
                                                              Plaintiff's First Set of Interrogatories
340                                         104a; 106; 403;   History and Pending Reports from Goldmine for B.
                                            802; 901          Carter, D. Outhous, F. Lichtner, R. (Bob) Matheson,
                                                              Joseph King
341                                         104a; 402; 403;   Letter from Douglas J. Peterson (by Assistant
                                            802; 901          Natalee Hartt), Attorney General, to Dave Conklin
                                                              from DTL RE: File No. 15-R-141; University of
                                                              Nebraska; Petitioner Dave Conklin
342                                         104a; 402; 403;   Task timeline: Project: Overall Arroyo RDI 1 1
                                            802               2014
343                                         402; 403; 802     Application to Sandy Rutter for the ASABE Online
                                                              Technical Library; completed by J. LaRue
344                                         104a; 402; 403;   RDI Income Statement
                                            802
345                                         402; 403; 802;    agweb.com Root Demand Irrigation Production
                                            901               Ends
346                                         104a; 402; 403;   Pip with NDA information - Internal Use Only
                                            802; 901
347                                         104a; 402; 403;   Data Room Index
                                            802; 901
348                                         104a; 402; 403;   Root Demand Irrigation brochure by Valmont
                                            802
349                                         104a; 402; 403;   Highly Confidential.wav - RDI Interview
                                            802; 901
350                                         104a; 402; 403;   Highly Confidential.wav - RDI Interview
                                            802; 901
351                                         104a; 402; 403;   DTL Photos of Plants
                                            802; 901
352                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
353                                         104a; 106; 402;   DTL Legal Contacts of Prospective New Purchasers
                                            403; 802; 901     - Valmont
354                                         104a; 402; 403;   Letter from E. Sinda to C. Malsam; B. Kiep; J.
                                            802               LaRue
355                                         104a; 402; 403;   Dupont Executive Summary - Sections 1-7
                                            802; 901
356                                         104a; 402; 403;   Assumptions Used for the US Financial Projections
                                            802; 901
357                                         104a; 402; 403;   Work Order - Arroyo Technology and Intellectual
                                            802               Property Development - Request for Consultants, R.
                                                              (Bob) Matheson and F. Lichtner
358                                         104a; 402; 403;   Document Produced in Native Format (Excel
                                            802; 1002         printout attached)
359                                         104a; 402; 403;   The DuPont Team: 2014 Commercial RDI Pilot

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Exhibit   Date         Date       Witness   Objections/        Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


                                            802                Product Introduction
360                                         104a; 402; 403;    Document Produced in Native Format (Excel
                                            802; 1002          printout attached)
361                                         104a; 402; 403;    DuPont presentation "What is Tyvek?"
                                            802
362                                         104a; 402; 403;    RDI brought to you By DuPont and Valmont For the
                                            802                Africa Production Conference presentation
363                                         104a; 402; 403;    DuPont presentation draft - Agriculture: Arroyo /
                                            802                Root Demand Irrigation
364                                         104a; 402; 403;    ASABE AE50 - Outstanding Innovations Award
                                            802                2015 - Spirit Story - Arroyo granted Outstanding
                                                               Innovation Award
365                                         104a; 106; 402;    DuPont presentation Program Status Update slides
                                            403; 802
366                                         104a; 402; 403;    DuPont presentation The DuPont Team: 2014
                                            802                Commercial RDI Pilot Product Introduction
367                                         104a; 106; 402;    Presentation Slide : Gen 2 Products
                                            403; 802
368                                         104a; 106; 402;    Document "1. Project Arroyo Tubing for Root
                                            403; 802           Demand Irrigation"
369                                         104a; 402; 403;    Root Demand Irrigation draft brochure
                                            802
370                                         104a; 402; 403;    Arroyo Florida Phase VI Protocol for Semi
                                            802                Commercial Field Test of RDI 73B40 vt do and
                                                               Valmont Industries V 1.3
371                                         104a; 402; 403;    MP4 - RDI Promotional Video Featuring J. LaRue
                                            802
372                                         104a; 402; 403;    MP4 - RDI Promotional Video
                                            802; 1002
373                                         104a; 402; 403;    RDI Internal Talking Points brochure
                                            802
374                                         104a; 402; 403;    Spreadsheets regarding cost of coating and markets
                                            802; 901; 1002
375                                         104a; 106; 402;    Example of some of DTL presentation/images -
                                            403; 802; 901;     section of DuPont Nonwovens presentation slides
                                            1002               "Concept Description"
376                                         402; 403; 702      Expert Report By Garry L. Grabow Re: Eco-Ag and
                                            (subject of        RDI subsurface plant-responsive irrigation systems
                                            Daubert motion);
                                            802
377                                         104a; 402; 403;    Subsurface Drop Irrigation Design and Installation
                                            802                of SDI Systems in North Carolina article published
                                                               by North Carolina Cooperative Extension Service
378                                         104a; 402; 403;    Subsurface Drip Irrigation: Status of the Technology
                                            802                in 2010 publication for 5th National Decennial
                                                               Irrigation Conference
379                                         104a; 402; 403;    Assumptions Used for US Financial Projections and
                                            802; 901           Global Model from native file
380                                         104a; 402; 403;    Root Demand irrigation brochure
                                            802
381                                         104a; 402; 403;    DuPont Past Site Visit Information (visits 1-5 notes
                                            802; 901           synopsis) without pp
382                                         104a; 106; 402;    B. Carter's Notes on Eco-Ag
                                            403; 802

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Exhibit   Date         Date       Witness   Objections/       Description of Exhibit
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                                            Admissions


383                                         104a; 106; 402;   J. LaRue's Notebooks
                                            403; 802
384                                         104a; 402; 403;   Email from Ioannis Bletsos to various recipients
                                            802               from the DuPont Team; Sub: Arroyo DuPont Team
                                                              Weekly Updates - Occurs every Wednesday…
385                                         106; 402; 403;    Letter from T. Zappa to DuPont Protection
                                            802               Technologies; Sub: RE: Non Disclosure and Non
                                                              Use Agreement
386                                         104a; 402; 403;    Email from T. Zappa to D. Conklin re DuPont
                                            802                teleconference 2/10/10 1pm
387                                         A                  U.S. Patent 7,198,431 – Irrigation System and
                                                               Associated Methods - GESSER
388                                         402; 802           Email from Ed Sinda to H. Matsuno to T. Zappa and
                                                               M. Gould
389                                         403; 802; 1002;    Email from B. Carter to E. Sinda re DuPont Status
                                            ILL                Update
390                                         403; 802; D        Email from Ed Sinda to B. Carter re: DuPont Status
                                                               Update
391                                         403; 802; D        Email from Ed Sinda to B. Carter et al re DuPont
                                                               Status Update
392                                         403; 802           Email from Sinda to B. Carter, et al re DuPont
                                                               Status Update
393                                         402; 403; 802      Email from Ed Sinda to M. Gould re Project Arroyo
                                                               Update
394                                         402; 403; 802      Email from Ed Sinda to M. Gould, T. Zappa, D.
                                                               Conklin re Bi-Monthly Status Update
395                                         402; 403; 802      Email from B. Carter to T. Zappa re Bimonthly
                                                               update
396                                         403; 802; D        Email from E. Sinda to B. Carter copying T. Zappa
                                                               and J. Williams re Status Update
397                                         403; 802           Email from Ed Sinda to T. Zappa re Please Upload –
                                                               Attaching "Technology Overview.doc"
398                                         104a; 402; 403;    Email from D. Conklin to M. Gould, J.Gould and J.
                                            802                Williams
399                                         104a; 402; 403;    Project Arroyo POI Excel
                                            802
400                                         104a; 402; 403;    Project Arroyo POI Excel
                                            802
401                                         802; D             Email from D. Sterkel to D. Conklin, et al re
                                                               Document from Thomas G. Powell - President,
                                                               DuPont Protection Technologies
402                                         802; D             Email from D. Sterkel to D. Conklin, J. Williams, A.
                                                               Sevilla and K. Renickre Document from Thomas G.
                                                               Powell - President, DuPont Protection Technologies
403                                         106; 802           Email from D. Sterkel to D. Conklin, M. Gould, J.
                                                               Williams, K. Renick and A. Sevilla re Document
                                                               from Thomas G. Powell - President, DuPont
                                                               Protection Technologies
404                                         A                  U.S. Patent 8,011,853 B2 - Fluid and Nutrient
                                                               Delivery Irrigation System and Associated Methods
                                                               - HymanGesser, Donald LaFreniere, Ed Sinda
405                                         A                  U.S. Patent US 8,312,671 B2 - Multi- Chamber Line
                                                               and System for Plant Irrigation and Fertigation and

                                                 18 of 57
Exhibit      Date         Date        Witness           Objections/          Description of Exhibit
No.          Identified   Admitted                      Stipulated
                                                        Admissions


                                                                              Associated Methods - Ed Sinda
406                                                      402; 403; 802        U.S. Patent Application #US2014/0047766 A1
407                                                      402; 403; 802; D     US Patent Application Publication No.US
                                                                              2015/0016888 A1
408                                                      402; 403; 802        email from K. Corby to M. Doyle & A Desalva: sub:
                                                                              re: arroyo (ROI) Summary Points
409                                                      NP; 901              Physical Exhibit: Eco-Ag Tubing4
D0001                                                    802                  Carson, Frederick T., "Some Observations on
                                                                              Determining the Size of Pores in Paper" U.S.
                                                                              Department of Commerce, National Bureau of
                                                                              Standards dated 190
D0002                                                    A                    U.S. Patent 3,169,899
D0003                                                    802                  Sub:-Surface Irrigation with a New Spunbonded
                                                                              Structure
D0004                                                    802                  Stern, J Harold, "The Effect of Media and Trickle
                                                                              Irrigation Fertilizer Regime on the Growth of
                                                                              Chrysanthemum Morifolium Ramat, March 1973
D0005                                                    A                    DuPont Textile Fibers Department Research Report
                                                                              - Irrigation Tubing of Tyvek: Prevention of Hole
                                                                              Formation in Subsurface Installations
D0006                                                    A                    VIAFLO® Irrigation Tubes - Report No. TSF-74-8
D0007                                                    A                    U.S. Patent 3,830,067 - Irrigation System
D0008                                                    A                    DuPont - Survey of Viaflow Home Garden
                                                                              Watering Kit
D0009                                                    802                  Bryan, H.H., W.M. Stall, J.D. Dalton, H.W. Ford
                                                                              "Response of Vegetables to Drip and Overhead
                                                                              Irrigation on Calcareous Soils," dated 1975
D0010                                                    A                    DuPont Research Report - Viaflo Irrigation Tubes
                                                                              Part 2
D0011                                                    802                  The University of Manitoba - Evaluation of Porous
                                                                              Drip Irrigation Tubing 'Viaflow' for Irrigation of
                                                                              Row Crops in Manitoba by Udeh Nwachukwu
                                                                              Charles
D0012                                                    A                    U.S. Patent 3,939,875 - Premeable Flexible Plastic
                                                                              Tubing - R. Osborn, D. Boyle
D0013                                                    802                  Research Summary Report - Project 618222
                                                                              Ultrasonic Scouting by H.F. Staunton
D0014                                                    802                  L. Errede and P. Martinucci Article - Flow Rate of
                                                                              Water through porous Membranes as Affected by
                                                                              Surface Modification on the Low-Pressure Side of
                                                                              the Membrane
D0015                                                    802                  L. Errede - Oxford Journal - Plant Influence on
                                                                              Water Flow Through Artificial Membranes
D0016                                                    802                  Camp, C.R., "Subsurface Drip Irrigation: A
                                                                              Review," dated 1998



      4
        Subject to inspection of Plaintiff’s Exhibit No. 409 (Eco-Ag tubing), which was recently identified by Plaintiff as a
      trial exhibit but which has not been produced or otherwise made available to Defendants for inspection, Defendants
      reserve the right to add trial exhibits including, but not limited to, samples of RDI.
                                                               19 of 57
Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0017                                       802              Article - David Zoldoske - Subsurface Drip
                                                             Irrigation The Future of Irrigation is Underground
D0018                                       A                U.S. Patent No. 6,045,869 - Water-Insoluble
                                                             Hydrophilic Marine Coating and Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0019                                       802              Article - Root Exudates as Mediators of Mineral
                                                             Acquisition in Low-Nutrient Environments by Felix
                                                             Dkora & Donald Phillips
D0020                                       802              Plant and Soil Article: Root exudates as mediators
                                                             of mineral acquisition in low-nutrient environments
D0021                                       A                U.S. Patent 6,372,028 B1 - Water-Insoluble
                                                             Hydrophilic Surface Coating and Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0022                                       802              Article - T. Walker, H. Pal Bais, E. Grotewold, J.
                                                             Vivanco - Root Exudation and Rhizosphere Biology
D0023                                       802              Website Article - DuPont introduces system for
                                                             irrigating with brackish water
D0024                                       A                U.S. Patent 6,537,609 B1 - Water-Insoluble
                                                             Hydrophilic Marine Coating and Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0025                                       802              Website Article - New DuPont Plant Hydration
                                                             System Delivers Water to Plants on Demand
D0026                                       802              Website - Machine Design by Sherri L. Koucky re
                                                             Membrane system water plants on demand
D0027                                       802              Website Article - Pervaporation: Apexa Hydrates
                                                             Crops as Soil Dries
D0028                                       A                U.S. Patent 6,706,784 B2 - Water-Insoluble
                                                             Hydrophilic Surface Coating and Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0029                                       802              Enciso, Juan, "Installing a Subsurface Drip
                                                             Irrigation System for Row Crops
D0030                                       802              Plant Science Article: K+ starvation increase water
                                                             uptake in whole sunflower plants; J. Fournier et al.
D0031                                       A                Detail by Officer/Register Agent Name - Lauther
                                                             Phillips, LLC
D0032                                       802              Schuch, Ursula K., Jack J. Kelly "Capillary Mats for
                                                             Irrigation Plants in the Retail Nursery-and Saving
                                                             Water dated 2006
D0033                                       A                License Agreement between Easy Life Solutions,
                                                             SPDF Chemical and Gesser dated 10/1/2006
D0034                                       A                Easy Life Solutions, Inc. Presentation: "A New
                                                             Breakthrough technology that is changing the face
                                                             of irrigation systems for all future generations"
D0035                                       A                Confidential Disclosure and Limited Use Agreement
                                                             between Easy Life Solutions, Inc. and Kirkwood
                                                             Community College




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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0036                                       Duplicate        U.S. Patent 7,198,431 - Irrigation System and
                                            Exhibit          Associated Methods

D0037                                       A                U.S. Patent 7,198,431 - Irrigation System and
                                                             Associated Methods
D0038                                       A                Detail by Officer/Register Agent Name - Gulfstream
                                                             Parts Company, LLC

D0039                                       A                A letter from Sinda to Dr. Willett of the USDA
                                                             dated 7/17/2007

D0040                                       802              Enciso Aticle - Subsurface Drip Irrigation of
                                                             Onions: Effects of Drip Tape Emitter Spacing on
                                                             Yield and Quality
D0041                                       A                Detail by Officer/Register Agent Name - MJG
                                                             JetCorp, LLC
D0042                                       802              Irrigro Micro-Porous Drip Irrigation System
                                                             Installation & Operation Guide, Version 2.6
D0043                                       802              Center for Turfgrass Environment Research &
                                                             Education - Tools for Turfgrass Irrigation Water
                                                             Management - by Garry Grabow
D0044                                       A                Email from Ed Sinda to H. Gesser re Publication
                                                             and Info?
D0045                                       A                A joint publication between Gesser, Lafreniere and
                                                             Sinda titled, "A Water And Nutrient On Demand
                                                             Irrigation System" created 3/6/2008
D0046                                       A                Email from Ed Sinda to C. Carson re Additional
                                                             Information on the Eco-Ag Technology for your
                                                             New Venture group to review
D0047                                       802              Subsurface Drip Irrigation - Design and Installation
                                                             of SDI Systems in North Carolina
D0048                                       A                Chrysta Gulas NDA
D0049                                       A                NDA between E. Sinda and DTL
D0050                                       A                Sorghum data
D0051                                       802              Journal of Membrane Science - M. Gryta, J.
                                                             Grzechulska-Damszel, A. Markowska, K.
                                                             Karakulski - The Influence of Polypropylene
                                                             Degradation on the Membrane Wttability During
                                                             Membrane Distillation
D0052                                       A                Detail by Officer/Register Agent Name - MJ Gould
                                                             Management Company, LLC
D0053                                       A                Email from H. Gesser to M&M Roses - from Israel
                                                             and Ed Sinda re Negev Farming WOD
D0054                                       A                Email from J. Hartt to Ed Sinda re PCT Document,
                                                             ISR/WO
D0055                                       A                Bud Goldsby NDA
D0056                                       A                DTL General Ledger (2008)
D0057                                       A                NDA Between DuPont and DTL


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0058                                       802              Mahbub, Alam, Danny h. Rogers, Troy J. Dumler
                                                             "Subsurface Drip Irrigation for Alfalfa" dated March
                                                             2009
D0059                                       A                DTL Disclosure Statement regarding U.S. Patent
                                                             number 7,198,431
D0060                                       A                Email from Ed Sinda to M. Sofer and H. Gesser re
                                                             First Draft of a Research Proposal
D0061                                       A                Email from C. Malsam to B. Goldsby and J. LaRue,
                                                             Subj: RE: Eco-Ag
D0062                                       A                Email from J. LaRue to B. Goldsby, Subj: Eco-Ag
D0063                                       A                Email from H. Gesser to wolf-witzenhausen@t-
                                                             online.de re Paper for Publication
D0064                                       A                Email from Ed Sinda to D. Conklin and T. Zappa re
                                                             Position Compensation
D0065                                       802              Reich, D., R. Godin, JL. Chavez, I. Broner,
                                                             "Subsurface Drip Irrigation (SDI)," Colorado State
                                                             University Extension Document No.4.716 dated
                                                             March 2009
D0066                                       A                Valmont - Excerpts of Notebooks kept by Jake
                                                             LaRue
D0067                                       A                NDA Between D. Conklin and DTL
D0068                                       A                NDA between Valmont and DTL
D0069                                       A                Email from T. Zappa to hgesser@cc.umanitoba.ca
                                                             and E. Sinda, Subj: FW: [JAIS] Re: Submitted paper
D0070                                       A                Email from Scanner to Ed Sinda attaching License
                                                             Agreement between SPDF Chemicals, Ltd. And
                                                             Easy Life Solutions, Inc.
D0071                                       A                Eco-Ag Testing Summary and Breakdown
D0072                                                        Email from E. Sinda to B. Goldsby and T. Zappa,
                                                             Subj: john deere
D0073                                       A                Email from E. Sinda to D. Conklin and B. Goldsby,
                                                             Subj: Developmental Technologies, LLC -
                                                             www.Eco-Ag.us- Please Moderate : New User
                                                             Registration
D0074                                       A                Email from B. Goldsby to J. Larue, Subj: ECO-AG
D0075                                       A                Email from D. Conklin to G. Onifer, et al re ECO-
                                                             AG Technology
D0076                                       A                Email from B. Goldsby to J. LaRue, Subj:
                                                             Confidential conference call
D0077                                       802; 402         Valuing Young, Start-up and Growth Companies:
                                                             Estimation Issues and Valuation Challenges by
                                                             Aswath Damodaran at NYU
D0078                                       A                Email from D. Conklin to E. Sinda and T. Zappa,
                                                             Subj: Update on DuPont Nonwovens (Tyvek)
D0079                                       A                Email from T. Zappa to E. Sinda, Subj: FW: Gil
                                                             Quote
D0080                                       A                Email from T. Zappa to C. Gulas and E. Sinda,
                                                             Subj: FW: Gil delivery and test invoice


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
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                                            Admissions


D0081                                       A                Email from B. Goldsby to J. LaRue, Subj:
                                                             Confidential call appointment
D0082                                       A                Email from Ed Sinda to Andrea Tullo-Searle re This
                                                             is what I have: FW: Sale of Easy Life
D0083                                       402              Email from Ed Sinda to H. Gesser re
                                                             DTLOption063109 - Sinda to Gesser talking about
                                                             potential amendment to agreement
D0084                                       402              Email from H. Gesser to Ed Sinda re Info from Dr.
                                                             Gesser and my call
D0085                                       402              Email from Ed Sinda to H. Gesser, bcc: A. Tullo-
                                                             Searle re The Option Agreement
D0086                                       A                Email from D. Conklin to D. Pannell, D. Goadby,
                                                             and E. Sinda, Subj: Details of meeting with Dave
                                                             Conklin of Developmental Technologies
D0087                                       A                Email from A. Tullo-Searle to Ed Sinda, J. Gould,
                                                             M. Gould re OPTION AGREEMENT RECD
                                                             TODAY
D0088                                       A                Option for Purchase of Intangible Assets between
                                                             Gesser, SPDF Chemical and Developmental
                                                             Technologies, LLC dated 7/29/2009
D0089                                       A                Email from B. Goldsby to D. Conklin, T. Zappa and
                                                             Ed Sinda re Valmont update
D0090                                       A                Email from B. Goldsby to J. LaRue, Subj: Eco-Ag
                                                             site visit travel options
D0091                                       A                Email from D. Conklin to B. Kiep, C. Malsam, J.
                                                             LaRue, B. Desigio
D0092                                       A                Email from J. LaRue to B. Goldsby, Subj: RE: Eco-
                                                             Ag site visit
D0093                                       A                NDA between DuPont and DTL
D0094                                       A                DuPont Meeting Schedule and ECO-AG
                                                             Presentation
D0095                                       A                DuPont Meeting Schedule and ECO-AG
                                                             Presentation (w/ Handwritten notes)
D0096                                       A                DuPont Meeting Schedule and ECO-AG
                                                             Presentation
D0097                                       A                Presentation to DuPont RE: Eco-Ag
D0098                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re Let us help you grease the skids
D0099                                       802              Email from H. Gesser to Ed Sinda re Our Published
                                                             Paper
D0100                                       A                Email from M. Gould to E. Sinda, Subj: RE: Todays
                                                             Timesheet
D0101                                       A                Email from B. Carter to D. Conklin, Subj: RE:
                                                             Spreadsheet Attached
D0102                                       A                Email from B. Carter to D. Conklin, Ed Sinda, T.
                                                             Zappa and johan.dti@inbox.com re Thank you -
                                                             Discussing recent visit
D0103                                       A                Email from Berhard Kiep to Craig Malsam, Jacob
                                                             LaRue, Phillip Meagher and Robert Meany

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0104                                       A                Email from Ed Sinda to M. Gould re Todays
                                                             Timesheet - 1/2 dayer - no day off
D0105                                       A                Email from J. LaRue to B. Goldsby, Subj: (Blank)
D0106                                       A                Email from B. Goldsby to J. LaRue, Subj: Eco-Ag
                                                             technology vs. any other irrigation system
D0107                                       A                Email from Ed Sinda to J. Brown and C. Gulas re
                                                             DTI Corp. Taxes
D0108                                       A                Email from J. LaRue to B. Goldsby, Subj: RE: Eco-
                                                             Ag technology vs. any other irrigation system
D0109                                       A                Email from B. Carter to dave.dti@inbox.com, Subj:
                                                             Update
D0110                                       A                Email from B. Goldsby to J. LaRue et al., Subj:
                                                             re[2]: Eco-Ag technology vs. any other irrigation
                                                             system
D0111                                       A                Email from T. Zappa to A. Tullo-Searle, F. Allen, T.
                                                             Jutchinson, Subj: DuPont site visit 8-27-09 Notes
D0112                                       A                Email from Ed Sinda to A. Tullo-Searle attaching
                                                             NDA between Chemical Associates, Ltd. and DTL
D0113                                       A                Handwritten notes from 9/21/2009 through
                                                             5/10/2010
D0114                                       A                Email from E. Sinda to T. Zappa and D. Conklin,
                                                             Subj: Please have Ed approve Tony DiLeo from
                                                             Millipore Corporation at our website
D0115                                       A                Email from J. LaRue to B. Goldsby, Subj: possible
                                                             discussion points
D0116                                       A                Handwritten Notes
D0117                                       802, 402         Email from A. Tullo-Searle to Ed Sinda, M. Gould
                                                             and J. Gould re A Fax has Arrived from Remote ID
                                                             '2044896766' - attaching "Avi's power of Attorney
                                                             for Dr. Gesser"
D0118                                       802, 402         Email from A. Gesser to Ed Sinda re Follow-up
D0119                                       A                Email from J. LaRue to B. Goldsby, Subj: Waterlog
D0120                                       402              Email from Ed Sinda to A. Gesser and A. Tullo-
                                                             Searle re Follow-up
D0121                                       402              Email from M. Gould to Ed Sinda re Todays
                                                             Timesheet
D0122                                       A                Two letters from M. and J. Gould and T. Zappa
                                                             (respectively) to J. LaRue, re: Valmont site visit
D0123                                       A                Valmont Industries Meeting Agenda
D0124                                       A                Notebook Provided to Valmont by DTL on
                                                             10/15/2009
D0125                                       A                Notes from Larue with "Comments from Jake
                                                             LaRue's Visit
D0126                                       A                ECO-AG Presentation to Valmont
D0127                                       A                Email from J. LaRue to B. Goldsby, Subj: question
                                                             #1
D0128                                       A                Email from J. LaRue to B. Goldsby, Subj: question
                                                             #2
D0129                                       A                Email from J. LaRue to B. Goldsby, Subj: question

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
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                                                             #2
D0130                                       A                Email from J. LaRue to B. Goldsby, Subj: How is
                                                             information requested coming?
D0131                                       A                Email from H. Gesser to Ed Sinda re Help on a
                                                             Polymer Question
D0132                                       106 - Improper   Letter from N. Budden to B. Carter, Subj: Request
                                            Compilation      for Authority to Execute a short term consulting
                                                             agreement with Dr. Lichtner in order to evaluate a
                                                             potential technology purchase
D0133                                       802 / 106 -      Multiple emails - Lead email: Pierre Broun to D.
                                            Improper         Conklin re Visit
                                            Compilation
D0134                                       A                Email from D. Conklin to B. Carter, Subj: Site visit
                                                             dates
D0135                                       802, 402         Email from A. Gesser to Ed Sinda and A. Tullo-
                                                             Searle re Goulds Leaving Town for 4 Weeks
D0136                                       A                Email from B. Goldsby to J. Larue, Subj: Eco-Ag
                                                             Q&A
D0137                                       A                Email from B. Goldsby to J. LaRue, Subj: Eco-Ag
                                                             Q&A
D0138                                       A                Email from J. LaRue to B. Goldsby, Subj: RE: Eco-
                                                             Ag Q&A
D0139                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re FWD: Site visit dates
D0140                                       A                Email from B. Carter to F. Lichtner & R. Matheson
                                                             re DTI Patents
D0141                                       A                Multiple History & Pending Reports
D0142                                       A                Email from M. Gould to E. Sinda, Subj: RE: EM I
                                                             want to send tomorrow morning as I call Jake
D0143                                       A                Email from E. Sinda to J. Larue and T. Zappa, Subj:
                                                             Eco-Ag LOI
D0144                                       A                Email from J. LaRue to E. Sinda, Subj: RE: Eco-Ag
                                                             LOI
D0145                                       802, 402         Email from A. Gesser to A. Tullo-Searle and Ed
                                                             Sinda re Gesser Amendment 1
D0146                                       802, 402         Email from A. Tullo-Searle to Ed Sinda re Gesser
                                                             Amendedment 1
D0147                                       A                Email from D. LaFreniere to Ed Sinda re Will Call
                                                             you
D0148                                       A                Email from A. Gesser to D. LaFreniere and Ed
                                                             Sinda re Will Call You.
D0149                                       402              Email from Ed Sinda to A. Tullo-Searle re Option
                                                             Agreement
D0150                                       402              Email from M. Gould to Ed Sinda re Todays
                                                             Timesheet
D0151                                       402              Email from Ed Sinda to J. Gould re Gesser
                                                             Amendment 1
D0152                                       402              Email from A. Tullo-Searle to A. Gesser, Ed Sinda,
                                                             H. Gesser and M. Gould re Conf.Call


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0153                                       A                Email from B. Carter to D. Conklin and R.
                                                             Matheson, Subj: Re: Just missed your call
D0154                                       402              Email from Ed Sinda to A. Tullo-Searle, M. Gould
                                                             and J. Gould re Email from Jan Bounced Back
D0155                                       402              Email from A. Tulllo-Searle to J. Gould, Ed Sinda,
                                                             M. Gould, F. Allen and J. Hutchinson re Gesser Ltr
                                                             12-14-09
D0156                                       A                ECO-AG Presentation for DuPont
D0157                                       A                Dupont site visit notes with presentation
D0158                                       A                ECO-AG Presentation for DuPont
D0159                                       A                DuPont Site Visit 2
D0160                                       A                Email from B. Carter to D. Conklin, Subj: Thanks
D0161                                       A                Email from B. Carter to D. Conklin, E. Sinda, and
                                                             T. Zappa, Subj: RE:Thanks
D0162                                       A                Letter from F. Lichtner to B. Carter and Bob
                                                             Matheson, Subj: Assesment of DTI Technology
                                                             Utilizing DuPont Tyvek as an Irrigation Tool
D0163                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re Photos, template
D0164                                       A                Email from D. Conklin to B. Carter, E. Sinda, and
                                                             T. Zappa, Subj: re:[2] Photos, template
D0165                                       A                Email from D. Conklin to B. Carter, E. Sinda, and
                                                             T. Zappa, Subj: re[2]: Photos, template
D0166                                       A                Magnolia Consulting, Inc. NDA
D0167                                       A                Email from D. Conklin to B. Carter, E. Sinda, and
                                                             T. Zappa, Subj: re:Template
D0168                                       A                DTL General Ledger (2009)
D0169                                       A                Email from Kiep to Zappa of DTL regarding Kiep
                                                             waiting 5 weeks for the draft letter of intent from
                                                             DTL dated 12/31/2009
D0170                                       A                Market Plan Organics 2010 - Eco-Ag Technology
D0171                                       A                Market Plan Greenhouse Vegetables 2010 - Eco-Ag
                                                             Technology
D0172                                       A                Market Plan Ornamentals 2010 - Eco-Ag
                                                             Technology
D0173                                       A                Market Plan Turf, Sod, and Shrubbery 2010 - Eco-
                                                             Ag Technology
D0174                                       A                Market Plan Home Garden 2010 - Eco-Ag
                                                             Technology
D0175                                       A                US Market Financials
D0176                                       A                Email from B. Carter to B. Yost et al re Eco Ag
                                                             Third Party Evaluation
D0177                                       A                Email from B. Kiep to T. Zappa and J. LaRue, Subj:
                                                             Eco-Ag LOI
D0178                                       106 - Improper   Emails & Communications from January 2010
                                            Compilation      between B. Carter & Developmental Technologies
                                                             staff



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0179                                       A                U.S. Patent and Trademark Office Notice of
                                                             Abandonment re Application No. 12/652,371
D0180                                       402, 802         Email from A. Tullo-Searle to A. Gesser, Subj:
                                                             Your Fax
D0181                                       A                Electronic Acknowledgement Receipt: Uniform-
                                                             Pressure Supply Line System for Varying
                                                             Elevations and Associated Methods
D0182                                       A                Email from B. Goldsby to Ed Sinda re Cargill
D0183                                       A                NDA between Victor Novotorov and DTL
D0184                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re One last request
D0185                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re DuPont Marketing Template for Eco-
                                                             Ag water technology
D0186                                       A                Email from J. Brown to M. Gould, J. Gould and Ed
                                                             Sinda re DTI Assignment of Patent License
                                                             Agreement
D0187                                       A                Email from B. Goldsby to Ed Sinda re Cargill notes
D0188                                       A                Email from B. Goldsby to Ed Sinda re Cargill notes
D0189                                       A                Email from D. Conklin to Ed Sinda, T. Zappa and
                                                             B. Goldsby re Cargill Aghorizons notes
D0190                                       A                Voicemail from B. Carter to Ed Sinda
D0191                                       A                Email from Ed Sinda to M. Gould re Great Message
                                                             from Bruce!
D0192                                       A                Email from D. Conklin to B. Carter, Ed Sinda and
                                                             T. Zappa re We Received your voicemail messages
D0193                                       A                Multiple Invoices from International Irrigation
                                                             System
D0194                                       402              Email from M. Gould to A. Tullo-Searle et al., Subj:
                                                             RE: Our irrigation system
D0195                                       A                Email from E. Sinda to A. Tullo-Searle et al., Subj:
                                                             Freudenberg
D0196                                       A                Email from J. LaRue to T. Zappa, B. Kiep, and E.
                                                             Sinda, Subj: RE: Eco-Ag LOI
D0197                                       A                Email from Y. Shouji to Ed Sinda, et al re Eco-Ag
                                                             Technology - Performance Data request
D0198                                       A                Email from D. Conklin to R. Bryant and Ed Sinda re
                                                             The size of the US and World irrigation markets
D0199                                       A                Email from D. Conklin to B. Goldsby, Ed Sinda, M.
                                                             Gould and T. Zappa re Cargill Approach
D0200                                       A                Email from B. Kiep to E. Sinda, B. Goldsby, T.
                                                             Zappa, and J. LaRue, Subj: Eco-Ag Information
D0201                                       A                Email from Ed Sinda to D. Conklin re Relevant
                                                             Literature
D0202                                       A                Intentionally omitted
D0203                                       A                Email from H. Gesser to Y. Kenji et al re More Crop
                                                             per Drop



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0204                                       A                Email from T. Zappa to D. Conklin and E. sinda,
                                                             Subj: RE: Blindcopied to no one
D0205                                       A                Email from M. Gould to A. Tullo-Searle, J. Gould,
                                                             T. Zappa and Ed Sinda re Relevant Literature
D0206                                       A                Email from B. Goldsby to B. Kiep, J. LaRue et al.,
                                                             Subj: Eco-Ag teleconference
D0207                                       A                Email from B. Kiep to B. Goldsby, C. Malsam and
                                                             J. LaRue, Subj: RE: Eco-Ag Information
D0208                                       A                DTL notes on contemporaneous conference call
                                                             between Valmont employees LaRue, Malsam and
                                                             Kiep and DTL employees Sinda, Goldsby, Conklin
                                                             and Michael Gould
D0209                                       A                Email from E. Sinda to B. Kiep, Subj: Answers
D0210                                       A                Email from C. Malsam to E. Sinda and B. Kiep,
                                                             Subj: RE: Valmont's Answers
D0211                                       A                Email from E. Sinda to B. Kiep, Subj: Answers
D0212                                       Duplicate        PPT: Project Arroyo - Eco-Ag Investigation
                                            Exhibit
D0213                                       A                Exhibit J - History and Pending Report
D0214                                       A                U.S. Patent and Trademark Office Notice of
                                                             Abandonment re Application No. 12/713,253
D0215                                       A                Electronic Acknowledgement Receipt: Irrigation
                                                             and Fertigation Collection and Mixing Device,
                                                             System and Associated Methods
D0216                                       A                Intentionally omitted
D0217                                       A                Email from D. Conklin to B. Carter, E. Sinda, and
                                                             bud.dti@inbox.com, Subj: Potential Partners
D0218                                       A                Email from R. Bryant to E. Sinda, Subj: High Value
                                                             Field Crops-Marketing Plan so far……..
D0219                                       402              Email from M. Gould to D. Conklin, J. Gould, B.
                                                             Goldsby and Ed Sinda re DuPont's Potential
                                                             Partners
D0220                                       A                Email from M. Gould to T. Zappa, Ed Sinda and J.
                                                             Gould re Avi Gesser Summary
D0221                                       A                DTL notes of conference call between Dan Kidder
                                                             of Syngenta, Ed Sinda and David Conklin dated
                                                             3/1/2010
D0222                                       A                Email from B. Carter to D. Conklin and Ed Sinda re
                                                             Potential Partners
D0223                                       A                Email from D. Conklin to B. Carter and Ed Sinda re
                                                             Potential Partners
D0224                                       A                Email from T. Zappa to Ed Sinda, B. Goldsby and
                                                             D. Conklin re Leggett and Platt questions 3-3-10
D0225                                       A                Email from Ed Sinda to T. Zappa re Leggett and
                                                             Platt questions3- 3-3-10
D0226                                       A                A letter from Sinda to Dan Kidder of Syngenta
                                                             dated
D0227                                       A                Email from D. Conklin to D. Kidder, Ed Sinda and
                                                             T. Zappa re Follow up to our teleconference of
                                                             3/1/10

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0228                                       A                Intentionally omitted
D0229                                       106 - Improper   Multiple emails - Lead email: Shannon Ukena to T.
                                            Compilation      Zappa et al re Eco-Ag Site Visit 3/4/10
D0230                                       A                Email from T. Zappa to Ed Sinda re EQ Question
                                                             for PNP
D0231                                       A                DuPont Site Visit 3
D0232                                       A                DuPont Meeting Schedule and ECO-AG
                                                             Presentation
D0233                                       A                DuPont Site Visit 3
D0234                                       A                Email from B. Goldsby to T. Zappa, Ed Sinda and
                                                             D. Conklin re Q&A potentials for Frank Lichtner
D0235                                       A                Email from B. Carter to T. Zappa re Fw: Dupont
                                                             Visitation
D0236                                       A                Email from D. Conklin to E. Sinda and M. Gould,
                                                             Subj: Ed is dead
D0237                                       402              Email from M. Gould to Ed Sinda et al re Limiting
                                                             Communication with Dave Conklin
D0238                                       A                Email from Gesser to National Geographics re:
                                                             Articles in JAIS and patent
D0239                                       A                Victor DiTommaso NDA
D0240                                       A                Email from M. Gould to Ed Sinda and J. Gould re
                                                             Today's Time
D0241                                       A                Email from P. Reinert to Ed Sinda re Working on a
                                                             potential sale
D0242                                       A                Email from V. DiTommaso to E. Sinda, Subj:
                                                             Invoice
D0243                                       A                Email from E. Sinda to M. Gould and J. Gould,
                                                             Subj: Todays Time
D0244                                       A                Email from E. Sinda to J. Gould and M. Gould,
                                                             Subj: Todays time
D0245                                       A                Email from Ed Sinda to M. Gould, J. Gould and T.
                                                             Zappa re 4/19/10 - Phone call with Bruce Carter
D0246                                       A                DuPont Site Visit 4
D0247                                       A                DuPont Site Visit 4
D0248                                       A                Invoice #5
D0249                                       A                Call Log - B. Carter to E. Sinda (Vic and Dave in
                                                             anonymous attendance)
D0250                                       A                Email from V. DiTommaso to R. Bryant and E.
                                                             Sinda, Subj: Files for Mitsubishi Presentation
D0251                                       A                Email from Malsam to Kiep and others subject
                                                             Engineering/Marketing update for 5/07/2010
D0252                                       A                United States Patent US 7,712,253 B2 dated
                                                             5/11/2010
D0253                                       A                U.S. Patent US 7,712,253 B2 - Fluid and Nutrient
                                                             Delivery System and Associated Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0254                                       A                Handwritten notes from 5/11/2010 through
                                                             4/25/2011

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0255                                       A                Voicemail from B. Carter to Ed Sinda
D0256                                       A                Email from Ed Sinda to M. Gould re Voicemail
                                                             Message Attached from [Bruce Carter]
D0257                                       A                Email from V. DiTommaso to R. Bryant et al., Subj:
                                                             Preliminary CIM Outline
D0258                                       A                Invoice #6
D0259                                       A                Email from V. DiTommaso to E. Sinda, Subj:
                                                             Financial Projections
D0260                                       402              Email from Ed Sinda to C. Gulas re Developmental
                                                             Technologies, LLC - Summary of Contents of
                                                             Corporate Book and NDA with DuPont
D0261                                       A                Email from V. DiTommaso to E. Sinda re: Financial
                                                             Projections
D0262                                       A                Email from V. DiTommaso to E. Sinda et al., Subj:
                                                             SIM Outline
D0263                                       A                Email from Ed Sinda to B. Carter, T. Zappa and M.
                                                             Gould re Tomatoes on Eco-Ag
D0264                                       A                Invoice #7
D0265                                       402              Detail by Officer/Register Agent Name - Irish
                                                             Rover, LLC
D0266                                       A                Email from T. Zappa to D. Conklin, E. Sinda, and
                                                             B. Goldsby, Subj: RE: Bud/Dave's DRAFT email to
                                                             Haifa Chemicals
D0267                                       A                Email from V. DiTommaso to R. Bryant , E. Sinda,
                                                             and D. Conklin, Subj: Re: World Market Data
D0268                                       A                Intentionally omitted
D0269                                       A                Email from R. Bryant to D. Conklin re Drip
                                                             irrigation update from the UK
D0270                                       A                Email from V. DiTommaso to E. Sinda, D. Conklin,
                                                             and R. Bryant, Subj: New Global Model
D0271                                       A                Email from V. DiTommaso to E. Sinda, D. Conklin,
                                                             and R. Bryant, Subj: New Global Model
D0272                                       A                Email from E. Barak to B. Goldsby, T. Zappa, Ed
                                                             Sinda and D. Conklin re Message Reply
D0273                                       A                Email from V. DiTommaso to E. Sinda, D. Conklin,
                                                             and R. Bryant, Subj: Updated Global Model
D0274                                       A                Email from Ed Sinda to V. DiTommaso and R.
                                                             Bryant re Meeting to review Global numbers
D0275                                       802              ASABE - Comparing Digital Image Analysis and
                                                             other Turf Quality Measurements in the Evaluation
                                                             of "SMART" Irrigation Technologies
D0276                                       A                Email from A. Novotorov to Ed Sinda re Plant
                                                             health problems
D0277                                       A                Letter from V. DiTommaso to M. Gould, Subj:
                                                             Global Valuation Model
D0278                                       A                Email from E. Sinda to B. Carter and M. Gould,
                                                             Subj: Global Model
D0279                                       A                Email from B. Carter to Ed Sinda re Global market

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Exhibit   Date         Date       Witness   Objections/         Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0280                                       A                   Invoice #8
D0281                                       A                   Letter from DuPont Protection Technologies to
                                                                Office of the Chief Executive, Subj: Developmental
                                                                Technologies LLC - Eco-Ag Technology
D0282                                       A                   U.S. Patent US 7,748,930 B2 - Fluid and Nutrient
                                                                Delivery System and Associated Methods - Hyman
                                                                Gesser, Donald LaFreniere, Ed Sinda
D0283                                       A                   Email from M. Gould to E. Sinda, Subj: FW: June
                                                                Update
D0284                                       A                   Intentionally omitted
D0285                                       A                   U.S. Patent Application Publication - US
                                                                2010/0170961 A1 - Uniform-Pressure Supply Line
                                                                System for Varying Elevations and Associated
                                                                Methods - Ed Sinda
D0286                                       A                   Email from R. Bryant to V. DiTommaso, Subj:
                                                                HVFC and Organic breakouts
D0287                                       A                   Email from R. Bryant to V. DitTommaso & Ed
                                                                Sinda re Row Crop Financials
D0288                                       A                   U.S. Patent 2010/0180497 A1 - Fluid Nutrient
                                                                Delivery System and Associated Methods - Hyman
                                                                Gesser & Donald LaFreniere
D0289                                       A                   United States Patent Application Publication US
                                                                2010/0180497A1
D0290                                       A                   Voicemail from B. Carter to Ed Sinda
D0291                                       A                   Invoice #9
D0292                                       A                   Preliminary Summary of Research Experiment with
                                                                Eco-Ag Irrigation Technology for cherry bush
                                                                tomato
D0293                                       A                   Email from R. Bryant to E. Sinda, Subj: Fwd:
                                                                Robins schedule on Business plans
D0294                                       A                   Email from D. Conklin to V. DiTommaso and E.
                                                                Sinda, Subj: RE: Update on Qualitative Questions
D0295                                       A                   Email Chain: Top from V. DiTommaso to D.
                                                                Conklin, Subj: Update on Qualitative Questions
D0296                                       A                   Email from V. DiTommaso to E. Sinda, Subj:
                                                                Business Plan fro High Value Field Crops
D0297                                       A                   Email from B. Carter to Ed Sinda re Your upcoming
                                                                visit
D0298                                       A                   Email from D. Conklin to R. Bryant re Need your
                                                                help with Project: Farm Level Business Cases
D0299                                       A                   Email from Ed Sinda to B. Carter and T. Zappa re
                                                                Your upcoming visit
D0300                                       A                   Email from T. Zappa to Ed Sinda re DuPont Prep
                                                                Meeting 8-24-10
D0301                                       A                   PPT: Eco-Ag Investigation
D0302                                                       A   Email from M. Gould to Ed Sinda and J. Gould re
                                                                Today - Summary of concerns re DuPont
D0303                                       A                   Email from M. Gould to E. Sinda and J. Gould,
                                                                Subj: RE: Today

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Exhibit   Date         Date       Witness   Objections/     Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0304                                       A               Invoice #10
D0305                                       A               Email from D. Conklin to E. Sinda, Subj: FW: Send
                                                            me an update on the business model calls
D0306                                       N/A             Intentionally omitted
D0307                                       A               Letter from B. Carter to M. Gould regarding non-
                                                            binding discussion points
D0308                                       A               PPT: Eco-Ag Discussion Points
D0309                                       A               Letter to Mike Gould re Eco-Ag collaboration
D0310                                       A               Dupont site visit notes
D0311                                       A               U.S. Patent Application Publication - US
                                                            2010/0218828 A1 - Irrigation and Fertigation
                                                            Collection and Mixing Device System and
                                                            Associated Method - Ed Sinda
D0312                                       A               PowerPoint - Project Arroyo Discussion Points
D0313                                       A               PPT: Project Arroyo - Discussion Points
D0314                                       A               PPT: Project Arroyo - Discussion Points
D0315                                       A               Email from V. DiTommaso to D. Conklin, Subj:
                                                            Models and Assumptions Recap (several documents
                                                            attached)
D0316                                       A               Email from V. DiTommaso to D. Conklin, Subj:
                                                            Models and Assumptions Recap (several documents
                                                            attached)
D0317                                       A               Email from M. Gould to D. Conklin, et al., Subj:
                                                            RE: Dave's Sales and Whales for w/e 9/2/10
D0318                                       A               Letter from P. Reinert to B. Carter, Subj: Non-
                                                            Disclosure and Non-Use Agreement Between E.I.
                                                            duPont deNemours and Company and
                                                            Developmental Technologies L.L.C. (the "Non-
                                                            Disclosure Agreement")
D0319                                       A               Email from E. Sinda to M. Gould re Meeting
                                                            Follow-up
D0320                                       A               Invoice #11
D0321                                       A               Email from N. Avison to B. Carter et al re Meeting
                                                            Follow-up
D0322                                       A               Email from V. DiTommaso to E. Sinda, Subj:
                                                            Invoice #11
D0323                                       A               Email from T. Zappa to Ed Sinda cc D. Conklin re
                                                            Other Plays
D0324                                       A               Email from T. Powell to B. Carter re Followup on
                                                            Project Arroyo
D0325                                       A               Email from V. DiTommaso to E. Sinda, Subj: Re:
                                                            Need assumptions right away!
D0326                                       A               Email from Ed Sinda to M. Gould re DTI
                                                            Compensation for Mitsui and DuPont
D0327                                       A               Invoice #12
D0328                                       A               Letter from P. Reinert to B. Carter, Subj: Non-
                                                            Disclosure and Non-Use Agreement Between E.I.
                                                            duPont deNemours and Company and
                                                            Developmental Technologies L.L.C. (the "Non-
                                                            Disclosure Agreement")

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0329                                       A                NDA between Valmont Industries , Inc. and DTL
D0330                                       802              Email from T. Zappa to Ed Sinda and D. Conklin re
                                                             DTI-R Website
D0331                                       A                U.S. Patent Application Publication - US
                                                             2010/0251612 A1 - Fluid and Nutrient Delivery
                                                             System and Associated Methods - Hyman Gesser,
                                                             Donald LaFreniere, Ed Sinda
D0332                                       A                Email from B. Carter to J. LaRue, J. Pawloski, and
                                                             R. Matheson, Subj: Re: information on water quality
                                                             for Eco Ag product
D0333                                       A                Email from J. Hartt to Ed Sinda re Study of DTI
                                                             Patent Portfolio, our file no
D0334                                       A                Email from Ed Sinda to J. Gould re Study of DTI
                                                             Patent Portfolio, our file no
D0335                                       A                Email from H. Matsuno to Ed Sinda, D. Conklin and
                                                             T. Zappa re Questionnaire
D0336                                       A                Intentionally omitted
D0337                                       A                Email from J. Pawloski to J. LaRue et al., Subj:
                                                             Tyvek®- Water on Demand
D0338                                       A                Email from E. Sinda to M. Gould and J. Gould,
                                                             Subj: Thoughts - FW: My proposal Idea
D0339                                       A                Email chain: Top from E. Sinda to M. Gould, Subj:
                                                             EcoAg
D0340                                       A                Email from E. Sinda to hirozumi.matsuno@mitsui-
                                                             chem.co.jp and T. Zappa, Subj: Questions to your
                                                             proposal
D0341                                       A                Email from B. Carter to T. Powell, Subj: Project
                                                             Arroyo (Eco-Ag) Update
D0342                                       A                Email from E. Sinda to B. Carter, J. Pawloski, T.
                                                             Zappa, and P. Reinert, Subj: Continued discussions
                                                             with Valmont
D0343                                       A                Email from hirozumi.matsuno@mitsui-chem.co.jp
                                                             to E. Sinda and T. Zappa, Subj: Re: Questions to
                                                             your proposal
D0344                                       A                Email from B. Carter to C. Malsam and J. Pawloski,
                                                             Subj: Tyvek® - Water on Demand
D0345                                       A                Email from B. Carter to Ed Sinda et al re Continued
                                                             discussions with Valmont
D0346                                       A                Email from B. Carter to J. LaRue et al., Subj:
                                                             Tyvek®- Water on Demand
D0347                                       802              Email from G. Henriques to P. Reinert, et al re
                                                             Developmental Technologies - Documentation
                                                             Requested
D0348                                       A                Email from Ed Sinda to B. Carter et al re Bi-Weekly
                                                             Progress Update
D0349                                       A                Email from R. Matheson to J. LaRue et al., Subj:
                                                             RE: information on water quality for Eco Ag
                                                             product



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0350                                       A                Email from J. LaRue to R. Matheson, B. Carter, C.
                                                             Malsam, and J. Pawloski, Subj: RE: information on
                                                             water quality for Eco Ag product
D0351                                       A                Email from M. Gould to H. Gesser, et al re October-
                                                             November update
D0352                                       A                Email from C. Malsam to B. Carter et al., Subj: RE:
                                                             Valmont DuPont Meeting 11/29
D0353                                       A                Email from R. Matheson to J. LaRue et al., Subj:
                                                             RE: information on water quality for Eco Ag
                                                             product
D0354                                       A                Email from D. Conklin to Ed Sinda re Market
                                                             Sensitivity documents
D0355                                       106 –            Multiple History & Pending Reports
                                            Improper
                                            Compilation
D0356                                       A                Email from Ed Sinda to H. Matsuno to T. Zappa and
                                                             M. Gould
D0357                                       A                Email from hirozumi.matsuno@mitsui-chem.co.jp
                                                             to E. Sinda and T. Zappa, Subj: Re: Our Current
                                                             Situation fo Acquisition of Eco-Ag
D0358                                       A                Email from B. Carter to J. LaRue et al., Subj: RE:
                                                             DuPont / Valmont meeting
D0359                                       A                Email from B. Carter to J. LaRue and R. Matheson,
                                                             Subj: RE: DuPont / Valmont meeting
D0360                                       A                Email from Ed Sinda to M. Gould re DuPont and the
                                                             Apexa Hydration System
D0361                                       A                Presentation - An Introduction to Tyvek in Potential
                                                             Irrigation Use
D0362                                       A                Article - DuPont HDPE Filtration Media
D0363                                       A                Email from H. Matsuno to Ed Sinda and T. Zappa
                                                             re: Our Current Situation of Acquisition of Eco-Ag
D0364                                       A                Email from B. Carter to Ed Sinda re Call to discuss
                                                             Valmont
D0365                                       A                Email from B. Carter to Ed Sinda et al re DuPont
                                                             Status Update
D0366                                       802              ASABE - Subsurface Drip Irrigation: Status of the
                                                             Technology in 2010
D0367                                       A                DTL document titled, "Preliminry (sic) Summary of
                                                             Black Eyed Pea Research Experiment with Eco-Ag
                                                             Irrigation Technology in Florida" dated 12/8/2010
D0368                                       A                DTL document titled, "The New Metric: Pounds per
                                                             Gallon or per liter" dated 12/08/2010
D0369                                       A                Email Chain: Top from B. Carter to E. Sinda, Subj:
                                                             DuPont Status Update
D0370                                       A                Email from B. Carter to E. Sinda re DuPont Status
                                                             Update
D0371                                       A                Email from Ed Sinda to B. Carter re: DuPont Status
                                                             Update


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0372                                       A                Email from Ed Sinda to B. Carter et al re DuPont
                                                             Status Update
D0373                                       A                DTL document titled, "Guidance for Conducting
                                                             Research experiments on Blackeye Pea" dated
                                                             12/9/2010
D0374                                       A                Email from Sinda to B. Carter, et al re DuPont
                                                             Status Update
D0375                                       A                Email from E. Sinda to B. Carter, et al. Subj:
                                                             DuPont Status Update
D0376                                       A                Email Chain: Top from E. Sinda to M. Gould, Subj:
                                                             DuPont Status Update
D0377                                       A                Email from H. Matsuno to Ed Sinda and T. Zappa re
                                                             Our Current Situation of Acquisition of Eco-Ag
D0378                                       802              Email from M. Gould to D. Conklin and Ed Sinda re
                                                             DuPont Targets Long-Term Growth in Two
                                                             Businesses Affected by the Possible Acquisition of
                                                             Eco-Ag
D0379                                       A                U.S. Patent and Trademark Office Notice of
                                                             Abandonment re Application No. 12/968,743
D0380                                       A                U.S. Patent and Trademark Office Notice of
                                                             Abandonment re Application No. 12/968,973
D0381                                       A                Email Chain: Top from E. Sinda to M. Gould, Subj:
                                                             FYI- FW: Project Arroyo Update
D0382                                       A                Email from Ed Sinda to M. Gould re Project Arroyo
                                                             Update
D0383                                       A                DTL document titled, "Question resp"
D0384                                       A                Email from D. Conklin to Ed Sinda re Meeting
                                                             notes from 12-16-10
D0385                                       A                Email from E. Sinda to J. Larue, B. Kiep, C.
                                                             Malsam, and T. Zappa, Subj: Information about
                                                             Eco-Ag Technology
D0386                                       Duplicate        Email from E. Sinda to J. Larue, B. Kiep, C.
                                            Exhibit          Malsam, and T. Zappa, Subj: Information about
                                                             Eco-Ag Technology
D0387                                       106              Email from E. Sinda to J. LaRue et al., Subj:
                                                             Additional information (1 of 3)
D0388                                       A                Email from E. Sinda to C. Malsam, J. Larue, B.
                                                             Kiep, Subj: Additional information (1 of 3)
D0389                                       A                Emaiil from J. Larue to E. Sinda, Subj: Information
                                                             about Eco-Ag Technology
D0390                                       A                Email from Ed Sinda to M. Gould re Dyi - DuPont -
                                                             FW: Status Update
D0391                                       802              Email from R. Neff to E. Sinda, Subj: Re:
                                                             EXPECTED DELIVERY TIME OF TYVEK -
                                                             LIKE ROLLS
D0392                                       A                U.S. Patent Application Publication - US
                                                             2010/0329786 A1 - Fluid and Nutrient Delivery
                                                             Irrigation System and Associated Methods - Hyman
                                                             Gesser, Donald LaFreniere, Ed Sinda


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0393                                       A                DTL General Ledger (2010)
D0394                                       A                Market Plan High Value Field Crops 2011 Eco-Ag
                                                             Technology
D0395                                       A                Market Plan Row Crops 2011 Eco-Ag Technology
D0396                                       A                Market Analysis Nursery & Vineyard 2011, Eco-Ag
                                                             Technology
D0397                                       A                Market Analysis Ornamental and Greenhouse 2011,
                                                             Eco-Ag Technology
D0398                                       A                Market Analysis - Row Crops 2011
D0399                                       A                Email from B. Carter to Ed Sinda et al re Bi-
                                                             Monthly Update
D0400                                       A                Email from M. Gould to E. Sinda et al., Subj: RE:
                                                             Marketing plan info
D0401                                       A                Email from Ed Sinda to B. Carter et al re Bi-
                                                             Monthly Update
D0402                                       A                Email from E. Sinda to B. Carter et al., Subj: Eco-
                                                             Ag marketing plans
D0403                                       A                Email from H. Matsuno to Ed Sinda and T. Zappa re
                                                             Evaluation Result
D0404                                       A                Email from T. Zappa to N. Okubo and D. Conklin re
                                                             DTI/Eco-Ag Site Visit 1-27-11
D0405                                       A                Email from B. Carter to Ed Sinda et al re Bi-
                                                             Monthly Update
D0406                                       A                Email from Ed Sinda to M. Gould, T. Zappa, D.
                                                             Conklin re Bi-Monthly Status Update
D0407                                       A                Email from B. Carter to T. Powell et al., Subj:
                                                             Project Arroyo Status Update
D0408                                       A                Email from B. Carter to Ed Sinda and T. Zappa re
                                                             Info about standard
D0409                                       A                Electronic Acknowledgement Receipt:
                                            802              Irrigation Tubing Coating System and Associated
                                                             Methods
D0410                                       A                Electronic Acknowledgement Receipt:
                                            802              Controlled-Flow Irrigation System and Associated
                                                             Methods
D0411                                       A                Electronic Acknowledgement Receipt:
                                            802              Underground Irrigation Line Detection System and
                                                             Associated Methods
D0412                                       A                Electronic Acknowledgement Receipt:
                                            A                Material-Delivery System For Irrigation Lines and
                                                             Associated Methods
D0413                                       A                Email Chain: Top from J. Williams to E. Sinda,
                                                             Subj: RE: Fertilizer Concentration Analysis for
                                                             Radish Testing
D0414                                       A                Email from J. Williams to Ed Sinda re Reminder -
                                                             Tomorrow AM DuPont Call
D0415                                       A                Email from Ed Sinda to M. Gould re FYI - Bruce
                                                             update FW: Bi-Monthly update

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0416                                       A                Email from B. Carter to T. Zappa re Bi-monthly
                                                             update
D0417                                       A                Email from B. Kiep to C. Malsam et al., Subj: Re:
                                                             Eco-Ag/DuPont
D0418                                       A                Email from R. Matheson to J. Pawloski, B. Carter,
                                                             D. Dishong, N. Avison re Outstanding!
D0419                                       A                Email from Ed Sinda to B. Carter and J. Williams re
                                                             Mondays update call
D0420                                       A                Email from J. Williams to T. Zappa cc Ed Sinda and
                                                             M. Gould re Commercial Farms
D0421                                       A                Email from J. Williams to M. Gould and J. Gould re
                                                             ECO-AG Partner Strategy
D0422                                       A                Email from Ed Sinda to A. Yedvab Cc D. Conklin
                                                             Bcc J. Williams re new opportunity
D0423                                       A                Email from Brian Desigio to Bruce Carter dated
                                                             3/4/2011
D0424                                       A                Email from Ed Sinda to M. Gould and J. Williams
                                                             re Status Update
D0425                                       A                Email from D. Conklin to J. Williams et al re
                                                             Onions for Asahi Kasei/Tyvek performance
                                                             comparison
D0426                                       A                Email from Ed Sinda to B. Carter cc T. Zappa and J.
                                                             Williams
D0427                                       Duplicate        Email from E. Sinda to B. Carter copying T. Zappa
                                            Exhibit          and J. Williams re Status Update
D0428                                       A                Email from T. Zappa to J. Williams re Farm letters
D0429                                       A                Email from A. Novotorov to J. Williams, T Zappa
                                                             and Ed Sinda re Fertilization Schedules for Hadlock
                                                             Planting
D0430                                       A                Email from J. Williams to Ed Sinda , T. Zappa, J.
                                                             Gould and M. Gould re DuPont
D0431                                       A                Email from D. Conklin to J. Williams, E. Sinda, and
                                                             T. Zappa, Subj: DuPont JDA and PowerPoint of
                                                             September 2010
D0432                                       802              Email from A. Yedvab to Ed Sinda, J. Williams, T.
                                                             Zappa, A. Bonneh re New Opportunity
D0433                                       A                Email from J. Williams to B. Carter re Follow Up
                                                             from Call - Thank You
D0434                                       A                Email from D. Conklin to M. Gould and J. Williams
                                                             re DuPont JDA and PowerPoint of September 2010
D0435                                       A                Email from Ed Sinda to V. DiTommaso re: Models
D0436                                       A                Email from V. DiTommaso to Ed Sinda re Models
D0437                                       A                Email from J. Williams to E. Sinda and T. Zappa,
                                                             Subj: RE: Point of contact for non-disclosure
                                                             agreement
D0438                                       A                Invoice from Irrigro to DTL #7020759 dated
                                                             4/6/2011
D0439                                       A                Presentation - Project Arroyo Tyvek Based
                                                             Irrigation Technology


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0440                                       A                Electronic Acknowledgement Receipt: Line and
                                                             System for Plant Irrigation, Fertigation, and
                                                             Drainange and Associated Methods
D0441                                       A                Email from D. Conklin to M. Gould, Jan Gould, J.
                                                             Williams, E. Sinda, Subj: RE: This is worth
                                                             watching…ECO-AG
D0442                                       802              Email from R. Neff to Ed Sinda re Tube Conversion
                                                             Trials - Urgent Reply Requested
D0443                                       A                Email from J. Williams to B. Carter re May 2nd
D0444                                       A                Invoice from Irrigro to DTL #7020768 dated
                                                             4/21/2011
D0445                                       A                Hardwritten notes from 4/27/2011 through
                                                             12/3/2012
D0446                                       A                Emails between D. Conklin, J. Williams, and J.
                                                             Holmes re Target dates for teleconferences with Ibs
D0447                                       A                Petition for Revival of an Application for Patent
                                                             Abandoned Unintentionally Under 37 CFR 1.137() -
                                                             Application No. 13/096,341
D0448                                       A                Invoice from Irrigro to DTL #7020780 dated
                                                             5/9/2011
D0449                                       A                Email from D. Conklin to J. Williams and Ed Sinda
                                                             re Eco Ag Proposal
D0450                                       A                Exhibit 2 to Feb 4, 2016 Conley Aff
D0451                                       A                Invoice #13
D0452                                       A                NDA between AgriCapital Corporation and DTL
D0453                                       A                Meeting Notes from DuPont Irrigation Development
                                                             Conference Call
D0454                                       A                Email from D. Conklin to A. Yedvab, J. Williams,
                                                             T. Zappa, and E. Sinda, Subj: Follow up to our
                                                             teleconference
D0455                                       A                Presentation - Project Arroyo - NBD Steering Team
                                                             Presentation
D0456                                       A                Email from J. Williams to M. Gould et al., Subj:
                                                             FW: CIM Executive Summary - progress
D0457                                       A                Email from J. Williams to B. Carter, Ed Sinda and
                                                             D. Conklin re F/U Call
D0458                                       A                Email from Ed Sinda to T. Zappa re Please Upload -
                                                             Attaching "Technology Overview.doc"
D0459                                       A                Email from J. Williams to D. Sterkel, Subj:
                                                             Developed Prospective Buyers
D0460                                       A                Series of Emails - 1st Email: from J. Williams to Ed
                                                             Sinda re F/U Call
D0461                                       A                Email from B. Carter to D. Boeri et al re Project
                                                             Arroyo - Important News - Effeciencies of
                                                             Technology and Bidding Path Forward
D0462                                       A                Email from B. Carter to D. Conklin re Master roll
                                                             pricing
D0463                                       A                Email from M. Gould to Ed Sinda and J. Williams
                                                             re Sinda Resignation

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0464                                       A                Email from Ed Sinda to M. Gould cc J. Williams re
                                                             resignation
D0465                                       A                Letter of Agreement between DTL and AgriCapital
D0466                                       A                Emal from M. Gould to J. Williams et al., Subj:
                                                             DTL Financials
D0467                                       A                Email from A. Sevilla to D. Sterkel, Subj: RE: Eco-
                                                             Ag
D0468                                       A                Email from J. Williams to M. Gould, et al re DTL
                                                             Financials
D0469                                       A                Email from J. Williams to D. Sterkel, M. Gould, J.
                                                             Gould, T. Zappa, and D. Conklin, Subj: FW:
                                                             Suggested agenda/topics of discussion
D0470                                       A                Email from T. Zappa to D. Sterkel, J. Williams, and
                                                             D. Conklin, Subj: DTI/Eco-Ag Financials
                                                             (Financials attached)
D0471                                       A                DTL - Information Needs & Data Room Index
D0472                                       A                Email from T. Zappa to D. Sterkel et al., Subj:
                                                             DTI/Eco-Ag Items for Review (multiple
                                                             attachments, 225 pages)
D0473                                       A                Email from T. Zappa to D. Sterkel et al., Subj:
                                                             DTI/Eco-Ag Items for Review (multiple
                                                             attachments, 225 pages)
D0474                                       802              African Agriculture: The Buried Diffuser, an
                                                             improved drip irrigation technique
D0475                                       A                Email from A. Sevilla to D. Sterkel and K. Renick,
                                                             Subj: EcoAg
D0476                                       A                Email from A. Sevilla to D. Sterkel and K. Renick,
                                                             Subj: Questions for EcoAg
D0477                                       A                Email from D. Sterkel to K. Renick and A. Sevilla,
                                                             Subj: Re: Eco-ag finanical model
D0478                                       A                Email from D. Conklin to K. Renick et al., Subj:
                                                             re[6]: Follow-up: 2007 USDA Census of
                                                             Agriculture and the 2008 Farm and Ranch Irrigation
                                                             Survey.
D0479                                       A                U.S. Patent Application Publication - US
                                                             2011/0179705 A1 - Multi-Chamber and System for
                                                             Plant Irrigation and Fetigation and Associated
                                                             Methods - Ed Sinda
D0480                                       A                U.S. Patent Application Publication - US
                                                             2011/0179709 A1 - Potted Plant Fluid-Delivery
                                                             Device and Associated Methods - Ed Sinda
D0481                                       A                U.S. Patent US 2011/0179710 A1 - Plant
                                                             Containment Device for Irrigation and Fertigation
                                                             and Associated Methods - Ed Sinda
D0482                                       802              Email from A. Sevilla to K. Renick and D. Sterkel,
                                                             Subj: RE: Eco-Ag email
D0483                                       A                Joint Development Agreement between Valmont
                                                             and DuPont




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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0484                                       A                Email from D. Conklin to J. Williams and T. Zappa,
                                                             Subj: Reply to your text message re: Substrates,
                                                             Polymer, commercial ren length, spools and bedder.
D0485                                       A                Email from D. Conklin to M. Gould, J. Gould and J.
                                                             Williams
D0486                                       A                Email from D. Conklin to V. DiTommaso re:
                                                             Current financial model
D0487                                       802              Email from H. Gesser to M. Gould re General
                                                             update
D0488                                       A                ECO-AG Presentation: "The World's First Plant-
                                                             Responsive Water and Nutrient Delivery System"
D0489                                       A                Email from D. Conklin to V. DiTommaso re
                                                             Financial Model Update
D0490                                       A                Email from D. Conklin to R. Bryant re: Current
                                                             financial model
D0491                                       A                Email from D. Conklin to V. DiTommaso re
                                                             Financial Model Update
D0492                                       A                Email from R. Bryant to V. DiTommaso re Eco-Ag
                                                             financials
D0493                                       A                Emails between A. Novotorov, J. Williams, J.
                                                             Gould, and T. Zappa
D0494                                       A                Emails between J. Gould, A. Novotorov, J.
                                                             Williams, T. Zappa, M. Gould
D0495                                       A                Email from A. Novotorov to J. Gould and J.
                                                             Williams re Bed C1 Substrate test layout & report
                                                             erors
D0496                                       106 - Improper   Series of Emails - 1st Email: from B. Carter to D.
                                            Compilation      Conklin and J. Williams re Our next teleconference
D0497                                       A                Presentation re ECO-AG - The World's First Plant-
                                                             Responsive Water and Nutrient Delivery System
D0498                                       A                Project Arroyo POI Excel
D0499                                       A                Project Arroyo POI Excel
D0500                                       A                Email from D. Conklin to cdwarren2@dow.com, D.
                                                             Sterkel, and J. Williams, Subj: ECO-AG Financial
                                                             model (multiple attachments, 148 pages)
D0501                                       A                Email from D. Conklin to C. Warren re ECO-AG
                                                             Financial Model
D0502                                       A                United States Patent US 8,011,852 B2 dated
                                                             9/6/2011
D0503                                       A                United States Patent US 8,011,853 B2 dated
                                                             9/6/2011
D0504                                       A                U.S. Patent US 8,011,852 B2 - Fluid and Nutrient
                                                             Delivery System and Associated Methods - H.
                                                             Gesser, D. LaFreniere, Ed Sinda
D0505                                       A                U.S. Patent US 8,011,853 B2 - Fluid and Nutrient
                                                             Delivery System and Associated Methods - H.
                                                             Gesser, D. LaFreniere, Ed Sinda




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Exhibit   Date         Date       Witness   Objections/     Description of Exhibit
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                                            Admissions


D0506                                       A               U.S. Patent 8,011,853 B2 - Fluid and Nutrient
                                                            Delivery Irrigation System and Associated Methods
                                                            - Hyman Gesser, Donald LaFreniere, Ed Sinda
D0507                                       A               Email from D. Conklin to K. Renick, A. Sevilla, D.
                                                            Sterkel, and J. Williams, Subj: ECO-AG Teaser
D0508                                       A               Email from D. Conklin to B. Carter and J. Williams
                                                            re ECO-AG Confidential Information Memorandum
D0509                                       A               Email from D. Conklin to M. Gould and J. Williams
                                                            re ECO-AG Confidential Information Memorandum
D0510                                       A               Emails between J. Williams, A. Novotorov, J.
                                                            Gould, T. Zappa, M. Gould
D0511                                       A               Email from T. Zappa to J. Gould, J. Williams, D.
                                                            Conklin, M. Gould, T. Zappa, Subj: Nebraska
                                                            Testing
D0512                                       A               Letter from D. Sterkel to B. Carter re DTI company
                                                            details
D0513                                       A               Email from D. Conklin to D. Sterkel, K. Renick, A.
                                                            Sevilla and J. Williams re Effective dates for NDAs
                                                            with PNPs
D0514                                       A               Email from D. Conklin to M. Gould cc. J. Williams
                                                            re Irrigro
D0515                                       A               Email from B. Carter to D. Conklin and J. Williams
                                                            re ECO-AG Confidential Information Memorandum
D0516                                       A               NDA between Valmont and DTL
D0517                                       A               Email from Alex Sevilla to Brian Desigio with
                                                            "ECO-AG Confidential Information Memorandum-
                                                            Investment Book.pdf" attached dated 9/20/2011
D0518                                       A               Email from A. Sevilla to B. Desigio and Keir
                                                            Renick, Subj: RE: ECO AG CIM
D0519                                       A               Email from D. Sterkel to "Kelly Smith At Viterra,"
                                                            Subj: Eco-Ag
D0520                                       A               Exhibit 3 to Feb 4, 2016 Conley Aff
D0521                                       A               Emails between A. Novotorov, J. Williams, T.
                                                            Zappa, and J. Gould
D0522                                       A               Email from D. Conklin to K. Renick, A. Sevilla, and
                                                            D. Sterkel, Subj: Please publish the attached to the
                                                            Data Room
D0523                                       A               Emails between A. Novotorov, J. Gould, J.
                                                            Williams, M. Gould, and T. Zappa
D0524                                       A               Email from D. Conklin to J. Williams and R.
                                                            Bryant, Subj: New questions from Dow Agro
                                                            teleconference 10/4/11
D0525                                       A               Email from J. Williams to M. Gould and J. Gould re
                                                            Work Things to Discuss
D0526                                       A               Email from D. Conklin to K. Renick, A. Sevilla, and
                                                            D. Sterkel, Subj: New Test Book upload completed




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Exhibit   Date         Date       Witness   Objections/     Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0527                                       A               Email from D. Conklin to K. Renick re
                                                            Developmental Technologies - ECO-AG
                                                            (AgriCapital Investment Banking)
D0528                                       A               Email from J. Williams to J. Gould and M. Gould cc
                                                            D. Conklin re Data Room Test
D0529                                       A               Email from D. Conklin to B. Carter and J. Williams
                                                            re ECO-AG Update
D0530                                       A               Email from K. Renick to D. Sterkel and A. Sevilla,
                                                            Subj: RE: Rules of the Game
D0531                                       A               Email from K. Renick to A. Sevilla and D. Sterkel,
                                                            Subj: RE: Update via email
D0532                                       A               Email from A. Sevilla to D. Conklin et al., Subj:
                                                            RE: Update via email
D0533                                       A               Email from M. Gould to K. Renick et al., Subj: Due
                                                            Diligence with Multiple Buyers
D0534                                       A               Email from K. Renick to A. Sevilla and D. Sterkel,
                                                            Subj: RE: Commerical Testing / IP Protection/ New
                                                            Testing
D0535                                       A               Email from D. Conklin to K. Renick and J.
                                                            Williams, Subj: RE: memory stick to Haifa?
D0536                                       A               Email from A. Novotorov to J. Williams and J.
                                                            Gould re PTG Inspection results
D0537                                       A               Email from D. Conklin to K. Renick, A. Sevilla, J.
                                                            Williams, and D. Sterkel, Subj: ECO-AG Test Book
                                                            Overview - READ ME FIRST
D0538                                       A               U.S. Patent Application - US 2011/0265897 A1 -
                                                            Fertigation Efficacy Enhancement System and
                                                            Associated Methods - Ed Sinda
D0539                                       A               U.S. Patent Number 7,198,431
D0540                                       A               Email from Brian Desigio to Bruce Carter dated
                                                            11/03/2011
D0541                                       A               Magnolia Consulting Invoice No. 245
D0542                                       A               Email from J. Williams to D. Conklin, M. Gould
                                                            and J. Gould re Word Document for Data Room and
                                                            Commentary on the Excel Spreadsheet: 11/11/11
D0543                                       A               PowerPoint Presentation: Project Arroyo -
                                                            Authorization Request to Submit a Non-Binding of
                                                            Interest for Eco-Ag Technology
D0544                                       A               Email from D. Conklin to M. Gould cc J. Williams
                                                            re Nonbinding Indication to DTI from the Kaiteki
                                                            Institute, Inc.
D0545                                       A               Email from D. Conklin to M. Gould cc J. Williams
                                                            re FW: Our evaluation result
D0546                                       A               Email from Deb Massouda to Jacob LaRue dated
                                                            11/16/2011
D0547                                       A               Email from D. Conklin to M. Gould et al re
                                                            Response to AGCO



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Exhibit   Date         Date       Witness   Objections/     Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0548                                       A               Email from J. Williams to J. Gould et al., Subj: FW:
                                                            Polymer Concentrations
D0549                                       A               Email from D. Sterkel to D. Conklin, et al re
                                                            Document from Thomas G. Powell - President,
                                                            DuPont Protection Technologies
D0550                                       A               Email from L. McKay to D. Sterkel et al., Subj:
                                                            Document from Thomas G. Powell - President,
                                                            DuPont Protection Technologies
D0551                                       A               Email from D. Sterkel to B. Carter, M Dubnansky,
                                                            D. Conklin and K. Renick re DuPont EOI and
                                                            meeting planning
D0552                                       A               Email from D. Sterkel to D. Conklin, J. Williams, A.
                                                            Sevilla and K. Renick re Document from Thomas G.
                                                            Powell - President, DuPont Protection Technologies
D0553                                       A               Email from J. Williams to M. Gould and J. Gould re
                                                            Document from Thomas G. Powell - President,
                                                            DuPont Protection Technologies
D0554                                       A               Email from K. Renick to
                                                            hirozumi.matsuno@mitsui-chem.co.jp, Subj: RE:
                                                            Our evaluation result
D0555                                       A               Email from D. Sterkel to D. Conklin, M. Gould, J.
                                                            Williams, K. Renick and A. Sevilla re Document
                                                            from Thomas G. Powell - President, DuPont
                                                            Protection Technologies
D0556                                       A               Email from D. Sterkel to L. McKay et al., Subj: RE:
                                                            Document from Thomas G. Powell - President,
                                                            DuPont Protection Technologies
D0557                                       A               Email from D. Sterkel to D. Conklin, M. Gould, J.
                                                            Williams, K. Renick and A. Sevilla re Document
                                                            from Thomas G. Powell - President, DuPont
                                                            Protection Technologies
D0558                                       A               Email from D. Conklin to A. Sevilla, K. Renick and
                                                            J. Williams re TATA
D0559                                       A               Email from K. Renick to D. Conklin, J. Williams, A.
                                                            Sevilla, and D. Sterkel, Subj: FW: ECO-AG
                                                            Schedule/Timeline
D0560                                       A               Email from J. Williams to K. Renick et al., Subj:
                                                            FW: Dupont Thoughts
D0561                                       A               Email from B. Carter to J. Williams re Voicemail
                                                            Follow Up
D0562                                       A               Email chain between John Williams of DTL and
                                                            Robert Neff of Irrigro beginning on 12/11/2011
D0563                                       A               Email from B. Haeussler to A. Sevilla cc E. Wenzel
                                                            and T. Renner
D0564                                       A               Emails between D. Conklin, J. Williams, A. Sevilla,
                                                            K. Renick, B. Haeussler, E. Wenzel, and T. Renner
D0565                                       A               DTL - General Ledger
D0566                                       A               Eco-Ag - Sale of Technology


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0567                                       901              Valmont Tyvek 1073B sample January 2012
D0568                                       901              Valmont Tyvek 1073B sample March 2012
D0569                                       901              Valmont Tyvek 1073B sample July 2012
D0570                                       901              Valmont Tyvek 1073B sample October 2012
D0571                                       A                Email from D. Conklin to K. Renick et al., Subj:
                                                             RE: Netafim
D0572                                       802              Email from G. Puri to D. Conklin, J. Williams, B.B.
                                                             Singh, NK Uppal re Availability of India licensing
                                                             rights for ECO-AG
D0573                                       A                U.S. Patent US 8,091,276 B2 - Fluid Nutrient
                                                             Delivery System and Associated Methods - Hyman
                                                             Gesser, Donald LaFreniere
D0574                                       A                United States Patent US 8,091, 276 B2 dated
                                                             1/10/2012
D0575                                       A                Email from D. Conklin to M. Gould and J. Williams
                                                             re Toro's Initial Response to our Questions
D0576                                       802              Emails between A. Sevilla, D. Conklin, D. Sterkel,
                                                             K. Renick, M. Gould, J. Gould, and J. Williams
D0577                                       802              Email from A. Sevilla to D. Conklin et al., Subj:
                                                             RE: Ag Irrigation Distribution project for AGCO
D0578                                       A                Email from J. Williams to J. Brown et al., Subj: RE:
                                                             Converted substrate in stock
D0579                                       A                Status Report as of Feb. 2, 2012
D0580                                       A                Letter from M. Gould to D. Conklin, Subj:
                                                             Commercialization
D0581                                       A                Email from R. Bryant to D. Conklin, Subj: Re:
                                                             Mitsubishi/Kaiteki
D0582                                       802              Lamm, F.R., Danny H. Rogers, "The Basics of
                                                             Successful Systems," dated 2012
D0583                                       A                Email from D. Conklin to dLaFreniere@verizon.net
                                                             and M. Gould, Subj: FW: Testing alternate polymers
                                                             for Eco-Ag
D0584                                       A                Email from Jacob LaRue to Brian Desigio regarding
                                                             testing dated 3/15/2012
D0585                                       A                Email from Deb Massouda to Jacob LaRue dated
                                                             3/16/12
D0586                                       A                Email from Y. Shouji to D. Conklin et al re
                                                             Proposed Test of ECO-AG
D0587                                       A                Email from A. Sevilla to B. Desigio, Subj: ECO AG
D0588                                       A                Email from D. Conklin to R. Bryant, Subj: FW: FW:
                                                             Current Financial Model
D0589                                       A                Email from A. Whitaker to D. Conklin re Followup
D0590                                       A                Email from LaRue to Carter, Matheson, Massouda,
                                                             Malsam, Desigio, Blestos, Downing and Monroe
                                                             dated 4/3/2012
D0591                                       A                Email from LaRue to Carter, Matheson, Beletsos,
                                                             Massouda, Malsam, Snyder, Desigio and Downing
                                                             dated 4/6/12

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0592                                       A                Email from LaRue to Malsam, Snyder and Desigio
                                                             dated 4/12/12
D0593                                       802              Email from D. Sterkel to A. Sevilla et al., Subj: Eco-
                                                             Ag update
D0594                                       802              Eco-Ag - Sale of Technology
D0595                                       A                Email from LaRue to Carter, Massouda, Ragghianti,
                                                             Huh, Bletsos, George, Matheson and Caspar dated
                                                             4/27/12 with Power Point Arroyo Texas attached
D0596                                       A                Email from M. Gould to D. Sterke, J. Gould and D.
                                                             Conklin re Termination of Agreement with
                                                             AgriCapital
D0597                                       A                U.S. Patent Application Publication - US
                                                             2012/0102833 A1 - Fluid Nutrient Delivery System
                                                             and Associated Methods - Gesser, LaFreniere
D0598                                       A                DuPont/Valmont Industries Steering Teams'
                                                             Meeting Power Point. TX 5/7/12
D0599                                       A                Outline of discussion of the DuPont/Valley Arroyo
                                                             project dated 5/15/2012
D0600                                       A                Photos of Arroyo Texas crop and charts of irrigation
                                                             dated 05/15/2012
D0601                                       A                Arroyo Update Power Point dated 5/18/2012
D0602                                       A                Field Test Photos 05/21/2012
D0603                                       A                Exhibit 4 to Feb 4, 2016 Conley Aff
D0604                                       A                Exhibit 5 to Feb 4, 2016 Conley Aff
D0605                                       A                Email from Bletsos to Massouda, Tang, Huh, and
                                                             LaRue dated 6/26/2012
D0606                                       A                Email from D. Conklin to M. Gould and J. Gould,
                                                             Subj: Bullet points for today's call - DRAFT
D0607                                       A                Email from LaRue to Malsam "mini report" dated
                                                             7/12/2012
D0608                                       A                Email from LaRue to Desigio dated 7/17/2012
D0609                                       A                Email from yamaguchi shouji to D. Conklin et al.,
                                                             Subj: RE: Proposed test of ECO-AG
D0610                                       A                Email from Malsam to Snyder, LaRue, Desigio and
                                                             others dated 7/24/2012
D0611                                       A                Email from Malsam to Snyder, Disigio, LaRue and
                                                             Ekbote dated 7/24/2012
D0612                                       A                Email from J. Brown to J. Gould, D. Conklin, K.
                                                             Hadlock and bullridrfl@gmail.com re Eco Ag field
                                                             trial in Florida
D0613                                       A                Arroyo Texas Phase II Protocol dated 8/14/2012
D0614                                       802              Study - M. Ewens, C. Jones, M. Rhodes-Kropf - The
                                                             Price of Diversifiable Risk in Venture Capital and
                                                             Private Equity
D0615                                       A                Email from D. Conklin to J. Gould and M. Gould re
                                                             Response to your requested update on Tata
                                                             Chemicals



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0616                                       A                Monthly report for field tests dated Oct. 2012 by
                                                             Jacob LaRue
D0617                                       A                Florida Arroyo Project Phase III Protocol for
                                                             Testing Trial of Uncoated Tyvek® and Competitive
                                                             Products by DuPont and Valmont Industries dated
                                                             10/2/2012
D0618                                       A                Commercial Field Targets for RDI Power Point
                                                             dated 10/04/2012
D0619                                       A                DuPont/Valmont Steering Team Meeting/Update of
                                                             Field Scaling Testing dated 10/5/2012
D0620                                       A                Arroyo Texas Phase I Harvest Information 071212
                                                             as built 10/05/2012
D0621                                       A                Arroyo Update Power Point dated 10/11/2012
D0622                                       A                Email from S. Langley to D. Conklin, C. Gulas and
                                                             chris@watsonconsulting.net re Shipment from
                                                             Developmental Technologies
D0623                                       A                U.S. Patent US 8,312,671 B2 - Multi-Chamber Line
                                                             and System for Plant Irrigation and Fertigation and
                                                             Associated Methods - Ed Sinda
D0624                                       A                United States Patent US 8,312,671 B2 dated
                                                             11/20/2012
D0625                                       A                Arroyo Texas Phase III Protocol dated 12/4/2012
D0626                                       A                Hardwritten notes from 12/5/2012 through
                                                             1/20/2015
D0627                                       A                Power Point presentation titled, "Arroyo Texas
                                                             Phase II" dated 2012
D0628                                       A                Power Point presentation prepared by Valmont
                                                             "Drip Irrigation Market Opportunity" dated
                                                             12/27/2012
D0629                                       A                DTL General Ledger (2012)
D0630                                       A                DuPont Tyvek 1073B and 1059B Transition
                                                             Protocol Materials dated 2013
D0631                                       901              Valmont Tyvek 1073B sample May 2013
D0632                                       802              Study - G. Festel, M. Wuermeseher, G. Cattaneo -
                                                             Valuation of Early Stage High-tech Start-up
                                                             Companies
D0633                                       A                Email from D. Conklin to M. Gould re Discussion
D0634                                       A                Email from D. Conklin to M. Gould and J. Gould re
                                                             Call
D0635                                       A                V Arroyo Florida Raw Data dated 1/17/2013
D0636                                       A                Email from D. Conklin to M. Gould and J. Gould,
                                                             Subj: Possible ammo for use with Gesser - Lowest
                                                             Prices for drip irrigation in US and India
D0637                                       A                Email from D. Conklin to M. Gould and J. Gould,
                                                             Subj: FW: Media pursuits update
D0638                                       A                Email from D. Massouda to Exchange Admin
                                                             Group re Arroyo Apex proposal documents
D0639                                       A                Email from D. Massouda to B. Carter et al re Irrigro
                                                             Company is for sale and they want to contact
                                                             DuPont

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0640                                       A                DuPont's Form 8-K
D0641                                       A                Power Point presentation "RDI Cost Model
                                                             Overview" dated 3/28/2013
D0642                                       802              Univ of Georgia Review - Considerations for
                                                             Subsurface Drip Irrigation Application in Humid
                                                             and Sub-humid Areas
D0643                                       A                Email from B. Yost to I. Bletsos re CS&E Program
                                                             Arroyo - Conversation from Discovery to
                                                             Collaboration - In case Bruce C. did not froward to
                                                             you :)
D0644                                       A                Power Point presentation "Arroyo Texas Ph Ivb
                                                             Crop Update" dated 4/12/2013
D0645                                       A                Email chain between LaRue and Massouda dated
                                                             4/4/2013 through 4/5/2013
D0646                                       A                Email chain between LaRue and Jefferey Willis
                                                             dated 4/9/2013
D0647                                       A                Email from B. Carter to B. Yost re Project Arroyo
                                                             Marketing Input- Bay Input
D0648                                       A                Email from C. Malsam to B. Desigio and J. LaRue
                                                             et al., Subj: RDI Patents
D0649                                       A                Exhibit 6 to Feb 4, 2016 Conley Aff
D0650                                       A                Email from J. Bletsos to B. Carter et al re Arroyo
                                                             and RDI DuPont IP Strategy
D0651                                       A                Email from B. Yost to R. Matheson et al re NOI:
                                                             Efficient Delivery of Liquid Water Under Low
                                                             Pressure - Bay Feedback - Round #2
D0652                                       A                Email from I. Bletsos to K. Corby et al re DuPont's
                                                             Contributions to Arroyo
D0653                                       A                Nebraska Phase 1 Excel Spread Sheet dated
                                                             7/16/2013
D0654                                       A                Power Point presentation titled, "Arroyo Texas Ph
                                                             IV dated 7/17/2013
D0655                                       A                Email from D. Conklin to
                                                             chris@watsonconsulting.net re Resource: Technical
                                                             Information for Tyvek
D0656                                       A                Email from D. Conklin to
                                                             pthomas@sonobondultrasonics.com and
                                                             chris@watsonconsulting.net re Update on
                                                             Ultrasonic Weld Trials
D0657                                       A                RDI 101 Power Point presentation dated 8/14/2013
D0658                                       A                PowerPoint - Deep Dive Workshop Summary - Root
                                                             Demand Irrigation
D0659                                       A                Power Point presentation titled, "Nebraska 2013
                                                             Arroyo and RDI Harvest Results Schmeeckle Field"
                                                             dated 10/7/2013
D0660                                       A                Nebraska RDI Harvest Results Relating to
                                                             Uniformity (Shmeeckle Field) dated 10/8/2013
D0661                                       A                Nebraska Phase II Overwintering Test 2013-2014
                                                             Midwest research dated 10/25/2013

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0662                                       A                United States Patent US 8,584,398 B2 dated
                                                             11/19/2013
D0663                                       A                Email from J. LaRue to B. Carter, Subj: RE:
                                                             Marketing materials
D0664                                       A                Root Demand Irrigation from the ground up - 5-
                                                             Year Overview January 2015
D0665                                       A                Email from J. LaRue to C. Malsm, Subj: RE: Eco
                                                             Ag's website
D0666                                       A                V Arroyo Florida Raw Data Condensed dated 12/2/
D0667                                       A                DTL - General Ledger
D0668                                       802              Case Study - Pires et al - Effects of Subsurface Drip
                                                             Irrigation and Different Planting Arrangements on
                                                             the Yields and Technological Quality of Sugarcane
D0669                                       901              Valmont Tyvek 1055B sample Fall 2014
D0670                                       901              Valmont Tyvek 1162B sample Fall 2014
D0671                                       A                Valmont financials produced natively at
                                                             VALM055825 (with Excel spreadsheet tabs entitled
                                                             "P&L", "P&L" Bridge", "Factory", "SGA" and
                                                             "RDI P&L")
D0672                                       802              Journal Article - "Why do Venture Capitalists Use
                                                             Such High Discount Rates?"
D0673                                       A                Email from B. Carter to D. McNeil et al re draft of
                                                             RDI manual
D0674                                       A                Commercialization Agreement between Valmont
                                                             and DuPont
D0675                                       A                Exhibit 7 to Feb 4, 2016 Conley Aff
D0676                                       A                Project Arroyo RDI Manual
D0677                                       A                PowerPoint Presentation: RDI and Arroyo Projects
D0678                                       A                Email from M. Doyle to B. Carter et al re Netafim -
                                                             Arroyo
D0679                                       A                Page marking Valmont's omission of 2 pages from J.
                                                             LaRue's notebook.
D0680                                       A                Work Order - Arroyo Technology and Intellectual
                                                             Property Development
D0681                                       A                Email from J. Willis to B. Carter et al re PDF of
                                                             Valmont-DuPont Commercial Agreement - Fully
                                                             Exectued Copy
D0682                                       A                Email from J. LaRue to I. Bletsos re DuPont
                                                             Technical Projects and IP for Arroyo in 2014
D0683                                       A                U.S. Patent Application # US2014/0047766 A1
D0684                                       A                Email from I. Bletsos to B. Carter re NOI: Irrigation
                                                             Tube
D0685                                       A                Power Point presentation titled, "Arroyo Midwest
                                                             Research Overwintering Phase III Spring Startup
                                                             Initial Report" dated 4/14/2014
D0686                                       A                Presentation - Root Demand Irrigation - Project
                                                             Arroyo Steering Team



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0687                                       A                Presentation - Root Demand Irrigation - Project
                                                             Arroyo Steering Team
D0688                                       A                A document titled "Arroyo Florida Phase VI
                                                             Protocol for Semi Commercial Field Test of RDI
                                                             73B40 by DuPont and Valmont Industries V1.3"
                                                             dated 4/26/2014
D0689                                       A                Power Point presentation titled, "May 23, 2014
                                                             Collaboration and Growth" dated
D0690                                       A                Power Point presentation titled, "RDI R&D
                                                             Priorities" dated 5/6/2014
D0691                                       A                Exhibit 8 to Feb 4, 2016 Conley Aff
D0692                                       A                Meeting Invitation from D. Siekman inviting D.
                                                             Siekman, L. Adams, B. Desigio and L. Addams,
                                                             Subj: DuPont Overview
D0693                                       A                Power Point presentation titled, "RDI and Arroyo
                                                             Projects" dated 5/21/2014
D0694                                       A                PowerPoint Presentation: RDI Development
D0695                                       A                PowerPoint Presentation: RDI Development
D0696                                       A                PowerPoint - DPT Project Arroyo Business Model
                                                             Innovation Workshop
D0697                                       A                Email from C. Norton to B. Carter re Arroyo Sales
                                                             to date
D0698                                       A                Email from K. Corby to I. Bletsos, et al
D0699                                       A                Email from B. Carter to C. Wallentine re Arroyo JV
                                                             and Acquisition modeling
D0700                                       A                Email from Seth Oliverius to Jacob LaRue dated
                                                             7/25/2014
D0701                                       802              Colorado State University - D. Reich, R. Godin, J.L.
                                                             Chavez, I. Broner - Subsurface Drip Irrigation 4.716
D0702                                       A                Power Point presentation "Application of Porous
                                                             Tube (RDI) for Precision Irrigation by Jacob LaRue
                                                             dated 8/8/2014
D0703                                       A                Power Point presentation by Valmont titled, "RDI
                                                             Acreage Projections 2013 vs. 2015
D0704                                       A                Email from B. Carter to J. LaRue et al., Subj: RE:
                                                             Correct wording for process of water release from
                                                             RDI tube
D0705                                       A                Email from B. Carter to R. Matheson and J. LaRue
                                                             et al., Subj: RE: Correct wording for process of
                                                             water release from RDI tube
D0706                                       A                Email from J. LaRue to R. Matheson, B. Carter et
                                                             al., Subj: RE: correct wording for process of water
                                                             release from RDI tube
D0707                                       A                Email from I. Bletos to J. LaRue et al re Update on
                                                             RDI Tube Longevity Based on Accelerated Testing
                                                             for NRCS
D0708                                       A                Valmont Press Release - Introducing Root Demand
                                                             Irrigation™: A Revolutionary Irrigation Approach


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No.       Identified   Admitted             Stipulated
                                            Admissions


D0709                                       A                Email from D. Siekman to B. Carter et al., Subj:
                                                             FW: Introducing Root Demand Irrigation: A
                                                             Revolutionary Irrigation Approach
D0710                                       A                Email from Bletsos to Siekman, D., Subj: RE:
                                                             Introducing Root Demand Irrigation: A
                                                             Revolutionary Irrigation Approach
D0711                                       A                Email between K. Corby and I. Bletsos et al., Subj:
                                                             RE: Introductin Root Demand Irrigation: A
                                                             Revolutionary Irrigation Approach
D0712                                       A                Email from Q. Elstone to J. LaRue, Subj: Re:
                                                             Circles for Rice Blog
D0713                                       A                PowerPoint - Arroyo Program Briefing, Root
                                                             Demand Irrigation
D0714                                       A                Email from D. Siekman to B. Desigio et al., Subj:
                                                             Re: DuPont Meeting Notes.
D0715                                       A                Email from B. Carter to T. Barrett et al re Arroyo
                                                             ER Q&A Draft - Need your input
D0716                                       A                Email from B. Carter to D. Siekman re Timeline
D0717                                       A                Email from A. Leonard to M. Bay, Subj: Re: AE50
                                                             Winners Announced
D0718                                       A                Letter from W. Pollack to T. Powell, re:
                                                             misappropriation of trade secrets
D0719                                       A                Exhibit 9 to Feb 4, 2016 Conley Aff
D0720                                       A                Email from J. LaRue to B. Carter, Subj: RE: Modes
                                                             of water movement
D0721                                       A                Power Point presentation "2014-2015 Dealer
                                                             Meetings"
D0722                                       A                Email from D. Siekman to B. Carter re Draft
                                                             Proposal
D0723                                       A                Power Point presentation titled, "RDI and Arroyo
                                                             Projects" dated 12/5/2014
D0724                                       A                Business Observer Article - "This isn't Right"
D0725                                       A                Business Observer Article - "This isn't Right"
D0726                                       A                Exhibit 10 to Feb 4, 2016 Conley Aff
D0727                                       A                Exhibit 11 to Feb 4, 2016 Conley Aff
D0728                                       A                DTL General Ledger (2014)
D0729                                       901              Valmont Tyvek 1073B sample April 2015
D0730                                       A                RDI 5 Year Overview brochure


D0731                                       A                26.21.1.12.14 Income Statement - RDI Domain
                                                             (12/30/2013 - 12/28/2014)
D0732                                       A                Email from R. Bryant to D. Conklin, Subj: Re: A
                                                             nationwide parade of 5O senior-level chemical and
                                                             agricultural executives, some from multibillion-
                                                             dollar businesses, flew into Bradenton in the late
                                                             2@0s to visit a tiny research and development firm



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0733                                       A                Email chain between LaRue, Bletsos and others
                                                             dated 1/13/2015
D0734                                       A                US Patent Application Publication No. US
                                                             2015/0016888 A1
D0735                                       A                Email from B. Carter to J. Willis and D. Siekman re
                                                             Its already starting….
D0736                                       A                Power Point presentation titled, "5-Year Overview"
                                                             dated 1/30/15
D0737                                       A                Winners of the AE50 Awards program
D0738                                       802              Wetpot Watering System
D0739                                       802              Email from I. Bletsos to L. Pearson et al re
                                                             Interesting paper looking at type of 'plant demand'
D0740                                       A                Document titled, "RDI weekly R&D Activity for
                                                             Past Week dated 2/16/2015
D0741                                       A                Email from M. Dubnansky to Exchange Admin
                                                             Group re PDI Summary: Arroyo
D0742                                       A                Email chain between LaRue, Siekman, and
                                                             Matheson dated 2/26/2015
D0743                                       A                PowerPoint - Root Demand Irrigation From the
                                                             Ground Up - Technical Sterring Team - Florida
                                                             Meeting
D0744                                       A                First Amended Complaint and Demand for
                                                             Injunctive Relief and Jury Trial
D0745                                       A                Presentation - Application and Approval of Porous
                                                             Tube (RDI) as a Precision Irrigation Practice
D0746                                       A                Email chain between Darren Siekman and Jacob
                                                             LaRue dated 3/12/2015
D0747                                       A                Email chain involving LaRue, Siekman, Bletsos,
                                                             Tadler and others dated 3/13/2015
D0748                                       A                Exhibit 12 to Feb 4, 2016 Conley Aff
D0749                                       A                Power Point presentation "RDI Hookups" dated
                                                             5/5/2015
D0750                                       A                Exhibit 13 to Feb 4, 2016 Conley Aff
D0751                                       A                Redacted NDA List
D0752                                       A                Exhibit 14 to Feb 4, 2016 Conley Aff
D0753                                       A                Exhibit 15 to Feb 4, 2016 Conley Aff
D0754                                       A                NDA between TamLe and DTL
D0755                                       A                Ego-Ag Website Screenshots (Color)
D0756                                       A                ECO-AG Website (Color) (35 pages)
D0757                                       A                26.21.1.12.14 Income Statement - RDI Domain
                                                             (12/29/2014 - 7/26/2015)
D0758                                       A                26.21.3.1.15 Balance Sheet - RDI Domain
                                                             (8/30/2015)
D0759                                       A                DuPont's Objections and Verified Responses to
                                                             DTL's First Set of Interrogatories
D0760                                       802              Letter from N. Hart (NB AAG) to D. Conklin, Subj:
                                                             File No. 15-R-141; University of Nebraska;
                                                             Petitioner Dave Conklin

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0761                                       802              RDI Dealer Notice Shutdown
D0762                                       A                DTL General Ledger (2015)
D0763                                       A                26.21.1.12.14 Income Statement - RDI Domain
                                                             (12/29/2014 - 11/29/2015)
D0764                                       A                RDI income statement for the period 12/29/2014 to
                                                             7/26/2015
D0765                                       A                Detail by Officer/Register Agent Name - Best
                                                             Grown Company, LLC
D0766                                       A                Patent Assignment Sheet
D0767                                       A                Agweb.com Article - "Root Demand Irrigation
                                                             Production Ends"
D0768                                       A                Grabow Expert Report, RE: Eco-Ag and RDI
                                                             subsurface plant-responsive irrigation systems
D0769                                       A                Exhibit 1 to Feb 4, 2016 Conley Aff
D0770                                       106, 402, 802    Plaintiff's Unverified Answers to Valmont's Second
                                                             Set of Rogs
D0771                                       106, 402, 802    Plaintiff's Unverified Answers to Defendant's
                                                             Second Set of Rogs
D0772                                       A                Defendant's Amended First Joint Notice of
                                                             Deposition to Agricapital
D0773                                       A                Deposition Notice to DTL
D0774                                       802              Affidavit of Robert Conley and combined exhibits
D0775                                       802              Website Screenshot - Irrigro Products FAQ
D0776                                       A                Deposition Notice to Valmont
D0777                                       802              Website Screenshot - Standard Heavy Duty +
                                                             Conduit 100' Drip Tubing
D0778                                       802              Website Screenshot - Wide Heavy Duty + Conduit
                                                             100' Drip Tubing
D0779                                       802              Expert Report of Drew Johnson
D0780                                       802              Expert Report of Ronald E. Sneed
D0781                                       802              Expert Report of Richard A. Jones
D0782                                       802              Expert Report of Stan Murphy
D0783                                       A                Deposition Notice - Valmont 30(b)(6)
D0784                                       A                DTL's Amended Notice of Deposition for DuPont
                                                             30(b)(6)
D0785                                       802              Irrigro® - Webpage - About Us
D0786                                       802              Irrigro® - Webpage - Products FAQ
D0787                                       802              AgriLife Today Article: High tunnels on the High
                                                             Plains
D0788                                       802              phys.org Article: Researcher studies high-value
                                                             vegetable crop production under high tunnels
D0789                                       A                Root Demand Irrigation - Product Capabilities
                                                             Brochure
D0790                                       A                Tammy Zappa NDA
D0791                                       A                Spreadsheet - Market Analysis
D0792                                       106 - Improper   Excerpts from various undated B. Goldsby emails
                                            Compilation

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Exhibit   Date         Date       Witness   Objections/        Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0793                                       802                Technical Handbook on Pressurized Irrigaion
                                                               Techniques - A. Phocaides, FAO Consulant
D0794                                       A                  Assumptions Used for the US Financial Projections
D0795                                       A                  Market Assumptions - High Value Field Crops
D0796                                       A                  Spreadsheet - WOD Expenses
D0797                                       A                  Market Evaluation Excel Spreadsheet
D0798                                       A                  Notice of Invention (NOI) - Patent Proposal,
                                                               "Porous Uncoated Tubing Exhibiting Root Water
                                                               On-Demand"
D0799                                       A                  Notice of Invention (NOI) - Patent Proposal,
                                                               "Efficient Delivery of Liquid Water Under Low
                                                               Pressure"
D0800                                       A                  Revised Draft Plan for Field Concept Testing of
                                                               Uncoated Tyvek vs. Currently Available SDI
                                                               Irrigation Products
D0801                                       A                  Root Demand Irrigation - Product Explanation
D0802                                       A                  Excel Spreadsheet - Global Markets Valuation
D0803                                       802, 106           Excerpts from Fundamentals of Fluid Mechanics -
                                                               Bruce Munson & Donald Young
D0804                                       802                NETAFIM - Subsurface Drip Irrigation (SDI)
                                                               Installation Guidelines for Mining
D0805                                       802                NETAFIM - Subsurface Dripline Guide
D0806                                       802                Subsurface Drip Irrigation (SDI) | DripTips by Toro
                                                               Micro-Irrigation
D0807                                       802                Article - Determine Soil Plastic Limits
D0808                                       802                A044 Pressure Regulator
D0809                                       A                  Evaluation of RDI Precision Irrigation (J. LaRue)
D0810                                       A                  Root Demand Irrigation - Key RDI Benefits
D0811                                       A                  RDI Internal Talking Points
D0812                                       A                  Brief Technical disclosure of the Eco-Ag
                                                               Technology
D0813                                       A                  Bullet Points on Eco-Ag
D0814                                       802                Article: "Improving Farmer's 'Revenue to Irrigation
                                                               Ratio' through Production of High Value Vegetable
                                                               Crops"
D0815                                       A                  Eco_Ag, US Markets Valuation
D0816                                       106 - Incomplete   MDFL: First Amended Complaint and Demand for
                                                               Injunctive Relief and Jury Trial
D0817                                       A                  Root Demand Irrigation - Brochure
D0818                                       A                  1 Subject, Wide Rule, 70 Sheet Notebook
D0819                                       802                Website - Irrigro.com "Abous Us"
D0820                                       802, 106, 901      List of samples of subsurface irrigation materials,
                                                               and materials used in Valmont field tests for which
                                                               Valmont does not have samples
D0821                                       802                Hanson, B.R., G. Fipps, E.C. Martin, "Drip
                                                               Irrigation of Row Crops: What is the State of the
                                                               Art?"


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0822                                       106 - Improper   Composition of Third-Party NDAs
                                            Compilation
D0823                                       106 - Improper   Compliation of Various Emails and Letters
                                            Compilation
D0824                                       106 - Improper   Compliation of Various Emails and Letters
                                            Compilation
D0825                                       106 - Improper   Compliation of Various Emails and Letters
                                            Compilation
D0826                                       A                United States Patent US 1,604,189 A1
                                                             "Subirrigation System" Charles B. Nelson dated
                                                             10/26/1926
D0827                                       A                United States Patent US 2,817,956 A1 "Soil
                                                             Moisture Controlled Irrigation System" Frederick C.
                                                             Young dated December 31, 1957
D0828                                       A                United States Patent US 3,407,608 A "Subsurface
                                                             Irrigation System" Brownloe Whitehead dated
                                                             10/29/1968
D0829                                       A                United States Patent US 3,698,195 A "Water
                                                             Distributing Hose" Richard D. Chapin dated
                                                             10/17/1972
D0830                                       802              Maitree Jaungpanich "The Effective Life of 'Viaflo'
                                                             Drip Tubing for Irrigation" Master Thesis,
                                                             Department of Agricultural Engineering, The
                                                             University of Manitoba, Winnipeg, Manitoba
D0831                                       802              Lamm, F.R., H.L. Manges, D. H. Rogers, W.E.
                                                             Spurgeon and M.H. Farmer "Design and Installation
                                                             of a Drip Irrigation System for Research Purposes"
                                                             ASAE Paper No. 902530, Hyatt Regency Chicago,
                                                             IL dated 12/18/1990
D0832                                       802              Darusman, Akhter H. Khan, Loyd R. Stone and F.R.
                                                             Lamm "Water Flow Below the Root Zone vs. Drip
                                                             Line Spacing in Drip-Irrigated Corn" Soil Science of
                                                             America Journal Vol. 61, No. 6, Nov-Dec 1997
D0833                                       802              Lamm, Stone, Manges, O'Brien - Optimum Lateral
                                                             Spacing for Subsurface Drip-Irrigated Corn
D0834                                       802              Bainbridge, D. A. "Buried clay pot irrigation, a little
                                                             known but highly efficient method of irrigation"
                                                             Agricultural Water Management 48(2), 79-88
D0835                                       802              Lamm, F.R., and C.R. Camp "Subsurface Drip
                                                             Irrigation" Chapter 13 in Microirrigation for Crop
                                                             Production-Design, Operation and Management.
                                                             F.R. Lamm, J.E. Ayers and F.S. Nakayama (Eds.),
                                                             Elsevier Publications, pp. 473-556
D0836                                       802              An article "Offsetting Drought for Small-Scale
                                                             Vegetable Production in North Carolina" revised by
                                                             Dr. Grabow in 2007
D0837                                       A                Eco Ag Presentation and meeting agenda for
                                                             Valmont site visit dated 10/15/2009



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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
No.       Identified   Admitted             Stipulated
                                            Admissions


D0838                                       A                Letter from Tammy Zappa to Jacob LaRue dated
                                                             10/19/2009
D0839                                       A                Email from B. Kiep to T. Zappa, E. Sinda and J.
                                                             LaRue re Eco-Ag LOI
D0840                                       A                Email from Sinda to Bud Goldsby and David
                                                             Conklin dated 2/15/2010
D0841                                       A                Email from Sinda to David Conklin and Michael
                                                             Gould dated 2/16/2010
D0842                                       A                Memorandum from DiTommaso to Michael Gould
                                                             titled "Global Valuation Model" dated 6/24/2010
D0843                                       802              Lamm, F.R., Danny H. Rogers, Mahbub Alam,
                                                             Daniel M. O'Brien and Todd P. Trooien, "Twenty-
                                                             Two Years of SDI Research in Kansas" Proceedings
                                                             of the 23rd Annual Central Plains Irrigation
                                                             Conference, Burlington, CO., dated 2/22/2011
D0844                                       A                A document titled "Executive Summary: Eco-Ag
                                                             Irrigation Technology, Caribbean Hot Peppers,
                                                             dated 10/31/2011
D0845                                       A                A document titled "Preliminary Summary: Eco-Ag
                                                             Irrigation Technology, Commercial Field Trial,
                                                             Commercial Tomato Grower," dated 11/11/2011
D0846                                       A                Arroyo / RDI Update
D0847                                       N/A              Intentionally omitted
D0848                                       A                Draft Report - Root Demand Irrigation System
                                                             Performance
D0849                                       A                Presentation - RDI and Arroyo Projects
D0850                                       A                Presentation - Discussion of Uniformity Based on
                                                             Aerial Imagery
D0851                                       802              Water Discharge Flow Rate Relationships for a Sub-
                                                             Irrigation Material by William Witts
D0852                                       A                Presentation - Flow Equation Status / Needs by
                                                             Larry Knorr, Ken Tadler and Mike Quintangeli
D0853                                       A                Presentation - Application and Approval of Porous
                                                             Tube (RDI) as a Precision Irrigation Practice
D0854                                       A                Plaintiff 's Answers to DuPont's 1st set of
                                                             Interrogatories
D0855                                       A                Plaintiff's Answers to Valmont 1st set of
                                                             Interrogatories
D0856                                       802              Netafim USA, Cotton Production Manual - Using
                                                             Subsurface Drip Irrigation
D0857                                       802              The Expert Report of Michael E. Lewis and Sarah
                                                             A. Hoerber dated 2/15/2016
D0858                                       A                Plaintiff's Answers to DuPont's 2nd set of
                                                             Interrogatories
D0859                                       A                Plaintiff's Supplemental Answers to DuPont's 1st set
                                                             of Interrogatories
D0860                                       A                Plaintiff's Supplemental Answers to DuPont's 2nd
                                                             set of Interrogatories


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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
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                                            Admissions


D0861                                       802              USDA Agricultural Prices released 6/29/2016 by the
                                                             National Agricultural Statistics Service (NASS),
                                                             Agricultural Statistics, United States Department of
                                                             Agriculture (USDA)
D0862                                       A                Developmental Technologies, LLC's filing with the
                                                             Florida Secretary of State on sunbiz.org as viewed
                                                             on 7/26/2016
D0863                                       A                Responsive Drip Irrigation filing with Florida
                                                             Secretary of State on sunbiz.org as viewed on
                                                             7/26/2016
D0864                                       802              GreenAg Technology filing with Florida Secretary
                                                             of State on sunbiz.org as viewed on 7/26/2016
D0865                                       N/A              Intentionally omitted
D0866                                       N/A              Intentionally omitted
D0867                                       A                Notes by Jacob LaRue titled, "Questions I would
                                                             suggest for Eco-Ag"
D0868                                       A                DTL's answers to Jacob Larue's Questions, Exhibit
                                                             N of Plaintiff's first Amended complaint
D0869                                       A                "Example of DTL Presentation Images, (undated)
D0870                                       A                Eco Ag Product Costing and Market Projections,
                                                             Exhibit ) of the First Amended Complaint
D0871                                       802              Intentionally omitted
D0872                                       901              Physical Exhibit: Irrigro tubing (X diameter)
D0873                                       901              Physical Exhibit: Irrigro tubing (Y diameter)
D0874                                       A                United States Patent, Tonkin et al. US 6.453.610 B2
D0875                                       A                United States Patent, Tonkin et al. US 6,484,439 B1
D0876                                       802              PCT International Publication Number WO
                                                             2002/110132 A2
D0877                                       802              Cotton, Tomato, Corn and Onion Production with
                                                             Subsurface Drip irrigation: A Review - F. R. Lamm
D0878                                       802              NCRS - Irrigation System, Tailwater Recovery -
                                                             Code 447
D0879                                       N/A              Intentionally omitted

D0880                                       A                2013, Arroyo Florida Finalization of Plan dated
                                                             12/03/2013
D0881                                       N/A              Intentionally omitted

D0882                                       N/A              Intentionally omitted

D0883                                       802              Burt and Styles, ”Drip and Micro Irrigation for
                                                             Trees, Vines and Field Crops”, fourth edition
D0884                                       802              Article - Irrigate With Irrigro Drip Irrigation
                                                             Systems - About Us
D0885                                       802              Article - KISSS Irrigation Technology

D0886                                       802              Irrigro website http://www.irrigro.com as of
                                                             2/15/2016

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Exhibit   Date         Date       Witness   Objections/      Description of Exhibit
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                                            Admissions


D0887                                       802              Developmental Technologies, LLC website
                                                             (www.eco-ag.us) as viewed 2/15/2016
D0888                                       106              Compliation of Various Emails and Letters

D0889                                       802              Reference book published by the Irrigation
                                                             Association entitled “Irrigation” sixth edition - Dr.
                                                             Sneed & J. LaRue
D0890                                       A                Email from Ed Sinda to Jacob LaRue et al. re:
                                                             Information about Eco-Ag Technology
D0891                                       A                Document titled: Project ECO-AG

D0892                                       402              Complaint and Demand for Injunctive Relief and
                                                             Jury Trial
                                                             Any document(s) introduced by Defendants at a trial
                                                             deposition, or other deposition, in this case that
                                                             occurs after the date of this exhibit list.




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